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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                        AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its member
organizations, their members, and these
members’ patients; AMERICAN
ASSOCIATION OF PRO-LIFE                       Case No. _____________
OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of itself, its
members, and their patients; AMERICAN
COLLEGE OF PEDIATRICIANS, on
behalf of itself, its members, and their
patients; CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS, on behalf of
itself, its members, and their patients;
SHAUN JESTER, D.O., on behalf of
himself and his patients; REGINA FROST-
CLARK, M.D., on behalf of herself and her
patients; TYLER JOHNSON, D.O., on
behalf of himself and his patients; and
GEORGE DELGADO, M.D., on behalf of
himself and his patients,
             Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION; ROBERT M.
CALIFF, M.D., in his official capacity as
Commissioner of Food and Drugs, U.S. Food
and Drug Administration; JANET
WOODCOCK, M.D., in her official capacity
as Principal Deputy Commissioner, U.S.
Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity
as Director, Center for Drug Evaluation and
Research, U.S. Food and Drug
Administration; U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity
as Secretary, U.S. Department of Health and
Human Services,
            Defendants.


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                                     COMPLAINT

               The U.S. Food and Drug Administration (FDA) must protect the

health, safety, and welfare of all Americans by rejecting or limiting the use of

dangerous drugs.

               But the FDA failed America’s women and girls when it chose politics

over science and approved chemical abortion drugs for use in the United States.

And it has continued to fail them by repeatedly removing even the most basic

precautionary requirements associated with their use.

               To date, the FDA’s review, approval, and deregulation of chemical

abortion drugs has spanned three decades, correlated with four U.S. presidential

elections, and encompassed six discrete agency actions. Plaintiffs challenge these

six FDA actions and ask that the Court hold them unlawful, set them aside, and

vacate them.

               Beginning in January 1993, on his second full day in office, President

Bill Clinton directed his cabinet to legalize chemical abortion drugs in the United

States.

               President Clinton and his agency officials then pressured the French

manufacturer of the key chemical abortion drug, mifepristone (also known as “RU-

486” and “Mifeprex”), to donate for free the U.S. patent rights of the drug to the

Population Council—as its name suggests, an entity focused on population control.

               After receiving the patent rights to mifepristone, the Population

Council submitted a new drug application, worked closely with the Clinton FDA

during the review process, and, not surprisingly, obtained the agency’s approval on


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September 28, 2000—just over one month before the closely contested 2000 U.S.

presidential election.

             The only way the FDA could have approved chemical abortion drugs

was to use its accelerated drug approval authority, necessitating the FDA to call

pregnancy an “illness” and argue that these dangerous drugs provide a “meaningful

therapeutic benefit” over existing treatments.

             But pregnancy is not an illness, nor do chemical abortion drugs provide

a therapeutic benefit over surgical abortion. In asserting these transparently false

conclusions, the FDA exceeded its regulatory authority to approve the drugs.

             What’s more, the FDA needed to disavow science and the law because

the FDA never studied the safety of the drugs under the labeled conditions of use

despite being required to do so by the Federal Food, Drug, and Cosmetic Act

(FFDCA). The agency also ignored the potential impacts of the hormone-blocking

regimen on the developing bodies of adolescent girls in violation of the Pediatric

Research and Equity Act (PREA). And the FDA disregarded the substantial

evidence that chemical abortion drugs cause more complications than even surgical

abortions.

             Since then, the FDA has not followed the science, reversed course, or

fixed its mistakes—all to the detriment of women and girls. Instead, the FDA has

doubled down on its actions and removed the few safeguards that were in place.

             In March 2016—fourteen years after two Plaintiffs filed a citizen

petition with the FDA asking the agency to withdraw its approval of chemical




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abortion drugs—the FDA rejected these Plaintiffs’ petition despite their

explanations that the agency violated federal laws by approving these drugs and

ignoring the substantial evidence that these drugs harm women and girls.

             On the same day that the FDA rejected the citizen petition and mere

months before another U.S. presidential election, the FDA also made “major

changes” to the chemical abortion drug regimen, eliminating crucial safeguards for

pregnant women and girls.

             For example, the FDA extended the permissible gestational age of the

baby for which a pregnant woman or girl may take chemical abortion drugs—from

seven weeks to ten weeks.

             Numerous studies have demonstrated that there is an increased risk

from chemical abortion drugs to pregnant women and girls as the baby’s age

advances from seven weeks to ten weeks because the surface area of the placenta as

well as the size of the baby significantly grow during these three weeks.

             Also in 2016, the FDA changed the dosage and route of administration

for the chemical abortion drugs, reduced the number of required in-person office

visits from three to one, expanded who could prescribe and administer chemical

abortion drugs beyond medical doctors, and eliminated the requirement for

abortionists to report non-fatal complications from chemical abortion drugs—

without requiring any objective clinical investigations or studies that evaluated the

safety and effectiveness of this new chemical abortion regimen or any safety

assessment of its effects on the developing bodies of girls under 18 years of age.




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             These major changes failed to satisfy the rigorous scientific standards

of the FFDCA and violated PREA’s requirement for a specific safety assessment of

these changes on pregnant girls who undergo the revised chemical abortion drug

regimen.

             Realizing a profit-making opportunity in the rapidly growing chemical

abortion business, another entity sought the FDA’s approval to market and

distribute a generic version of mifepristone. In 2019, the FDA obliged and approved

the generic drug—without requiring any new clinical investigations or studies that

evaluated the drug’s safety and effectiveness under the requirements of the FFDCA,

nor any specific safety assessments on girls as set forth under PREA.

             A couple of years later, in April of 2021, shortly after President Joe

Biden took office, the FDA’s new management issued a “Non-Enforcement Decision”

by which the agency would stop enforcing its requirement that abortionists provide

in-person dispensing of mifepristone and instead would temporarily allow mail-

order chemical abortions during the COVID-19 public health emergency.

             In December 2021—two-and-a-half years after two Plaintiffs filed a

citizen petition asking the FDA to restore and strengthen the pre-2016 chemical

abortion drug regimen or, at minimum, to preserve the few remaining safeguards

for women and girls—the FDA rejected almost all of these Plaintiffs’ citizen

petition. The FDA issued its denial despite their discussion of how the agency

violated the law by ignoring the growing and substantial evidence that these

dangerous drugs harm women and girls.




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              On the same day that it rejected the citizen petition, the Biden FDA

also announced that it would permanently allow abortionists to send chemical

abortion drugs through the mail.

              This decision not only harms women and girls who voluntarily undergo

chemical abortions, but it also further helps sex traffickers and sexual abusers to

force their victims into getting abortions while preventing the authorities from

identifying these victims.1 In fact, the State of Texas has recognized that “[d]ue to

the potentially high number of trafficking victims who undergo abortion procedures,

abortion facility employees are uniquely situated to identify and assist victims of

sex trafficking.”2

              In addition to the legal and scientific infirmities referenced above, all

of the FDA’s actions on chemical abortion drugs—the 2000 approval, the 2016 major

changes, the 2019 generic drug approval, and the two 2021 actions to eliminate the

in-person dispensing requirement—failed to acknowledge and address the federal

laws that prohibit the distribution of chemical abortion drugs by postal mail,


1 See, e.g., Ex. 1, Laura J. Lederer & Christopher A. Wetzel, The Health
Consequences of Sex Trafficking and Their Implications for Identifying Victims in
Healthcare Facilities, Annals of Health Law, Winter 2014 at 61Laura J. Lederer &
Christopher A. Wetzel, The Health Consequences of Sex Trafficking and Their
Implications for Identifying Victims in Healthcare Facilities, Annals of Health Law,
Winter 2014 at 61, 73, 77–78 (noting that survivors in study “reported that they
often did not freely choose the abortions they had while being trafficked,” these
“[s]urvivors [] had significant contact with clinical treatment facilities, most
commonly Planned Parenthood clinics,” and that “these points of contact with
healthcare represent rare opportunities for victim identification and intervention.”).
2 Ex. 2, C.S.H.B. 3446, H. Comm. Rpt., 84th Legis. (Mar. 12, 2015),

https://capitol.texas.gov/tlodocs/84R/analysis/pdf/HB03446H.pdf (a subsequent,
similar version was codified at Tex. Health & Safety Code § 245.025).


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express company, or common carrier. See 18 U.S.C. §§ 1461, 1462. Instead, the

FDA’s actions permitted and sometimes even encouraged these illegal activities.

             After two decades of engaging the FDA to no avail, Plaintiffs now ask

this Court to do what the FDA was and is legally required to do: protect women and

girls by holding unlawful, setting aside, and vacating the FDA’s actions to approve

chemical abortion drugs and eviscerate crucial safeguards for those who undergo

this dangerous drug regimen.

                           JURISDICTION AND VENUE

             This Court has subject-matter jurisdiction under 28 U.S.C. § 1331

because this action raises federal questions under the Administrative Procedure Act

(APA), 5 U.S.C. §§ 553, 701–06, and the FFDCA, 21 U.S.C. § 301 et seq.

             This Court also has jurisdiction under 28 U.S.C. § 1346(a) because this

is a civil action against the United States.

             Additionally, this Court has jurisdiction under 28 U.S.C. § 1361 to

compel an officer of the United States or any federal agency to perform his or her

duty.

             This Court has jurisdiction to review Defendants’ unlawful actions and

enter appropriate relief under the APA, 5 U.S.C. §§ 553, 701–06.

             This Court has jurisdiction to issue equitable relief to enjoin ultra vires

agency action under an equitable cause of action. Larson v. Domestic & Foreign

Com. Corp., 337 U.S. 682, 689–91 (1949).




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             This case seeks declaratory, injunctive, and other appropriate relief

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201–02, 5 U.S.C. §§ 705–06,

Federal Rule of Civil Procedure 57, and the Court’s inherent equitable powers.

             This Court may award costs and attorneys’ fees under the Equal

Access to Justice Act, 28 U.S.C. § 2412.

             Venue is proper in this Court under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this

district, and a substantial part of property that is the subject of the action is

situated here. This district and this division are where Plaintiffs Alliance for

Hippocratic Medicine, including the doctors of its member associations, and Dr.

Shaun Jester are situated and are injured by Defendants’ actions. Defendants are

United States agencies or officers sued in their official capacities. A substantial part

of the events or omissions giving rise to the Complaint occurred within the

Northern District of Texas.

                                     PLAINTIFFS

             Four national medical associations and four doctors experienced in

caring for pregnant and post-abortive patients bring this case. They seek to protect

women and girls from the documented dangers of chemical abortion drugs.

             Plaintiff Alliance for Hippocratic Medicine is a nonprofit membership

organization that upholds and promotes the fundamental principles of Hippocratic

medicine: protecting the vulnerable at the beginning and end of life; seeking the

ultimate good for the patient with compassion and moral integrity; and providing

health care with the highest standards of excellence based on medical science. The


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Alliance for Hippocratic Medicine’s members currently are the American

Association of Pro-Life Obstetricians and Gynecologists, the American College of

Pediatricians, the Catholic Medical Association, the Christian Medical & Dental

Associations, and the Coptic Medical Association of North America. The Alliance for

Hippocratic Medicine is incorporated in the State of Texas and has its registered

agent in Amarillo, Texas. The Alliance for Hippocratic Medicine seeks relief on

behalf of itself, its current and future member organizations, their members, and

these members’ patients. Mr. Mario Dickerson and Drs. Donna Harrison, Jeffrey

Barrows, and Quentin Van Meter submit declarations in support of the Alliance for

Hippocratic Medicine.3

             Plaintiff American Association of Pro-Life Obstetricians and

Gynecologists (AAPLOG) is a nonprofit organization that encourages and equips its

members and other concerned medical practitioners to provide an evidence-based

rationale for defending the lives of both the pregnant mother and her unborn child.

AAPLOG aims to make known the evidence-based effects of abortion on women as

well as the scientific fact that human life begins at the moment of fertilization, with

the goal that all women, regardless of race, creed, or national origin, will be

empowered to make healthy and life-affirming choices. AAPLOG is incorporated in

the State of Florida, and headquartered in Indiana. AAPLOG has individual

members in Texas. AAPLOG seeks relief on behalf of itself, its current and future




3
 Ex. 3, Dickerson Decl. ¶ 7; Ex. 4, Harrison Decl. ¶ 6, 13; Ex. 5, Barrows Decl. ¶ 2;
Ex. 6, Van Meter Decl. ¶ 6.


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members, and their patients. Drs. Donna Harrison, Christina Francis, Ingrid Skop,

and Nancy Wozniak submit declarations in support of AAPLOG.4

             Plaintiff American College of Pediatricians is a national organization

of pediatricians and other health care professionals. The American College of

Pediatricians is a nonprofit organization founded in 2002, is incorporated in the

State of Tennessee, and has its registered agent in Tennessee. The American

College of Pediatricians’ membership includes more than 600 physicians and other

health care professionals drawn from 47 different states across the nation. The

American College of Pediatricians has members within this judicial district and

elsewhere in the State of Texas. The American College of Pediatricians seeks relief

on behalf of itself, its current and future members, and their patients. Dr. Quentin

Van Meter submits a declaration in support of the American College of

Pediatricians.5

             Plaintiff Christian Medical & Dental Associations is a national

nonprofit organization, headquartered in the State of Tennessee, of Christian

physicians, dentists, and allied health care professionals, with over 13,000 members

nationwide, including 1,237 overall members in Texas, of whom 607 are practicing

or retired physicians, and 35 are OB/Gyns. The Christian Medical & Dental

Associations sues on behalf of itself, its current and future members, and their




4 Ex. 4, Harrison Decl. ¶ 5; Ex. 7, Francis Decl. ¶ 4; Ex. 8, Skop Decl. ¶ 4; Ex. 9,
Wozniak Decl. ¶ 3.
5 Ex. 6, Van Meter Decl. ¶ 6.




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patients. Drs. Jeffrey Barrows and Steven Foley submit declarations in support of

the Christian Medical & Dental Associations.6

               Plaintiff Dr. Shaun Jester, D.O, is a board-certified obstetrician and

gynecologist and the Medical Director of Moore County OB/Gyn in Dumas, Texas.

His practice includes cesarean section deliveries, hysterectomies, and other women’s

health treatments. He has treated women who have had abortions, including one

woman who suffered an adverse event from a chemical abortion, for which he

submitted an adverse event report to the FDA. Dr. Jester sues on his own behalf

and on behalf of his current and future patients.

               Plaintiff Dr. Regina Frost-Clark, M.D., is a board-certified doctor in

obstetrics and gynecology. She practices with Ascension Medical Group St. John

OB/Gyn Associates in Saint Clair Shores, Michigan. Dr. Frost-Clark has treated

several women who have suffered complications from chemical abortions, many who

presented to the emergency room. Dr. Frost-Clark sues on her own behalf and on

behalf of her current and future patients.

               Plaintiff Dr. Tyler Johnson, D.O., is an emergency department

physician certified by the American Board of Emergency Medicine. Based out of

Leo, Indiana, Dr. Johnson serves as the director of emergency medicine at Parkview

Dekalb Hospital and practices in the emergency departments of hospitals

throughout northern Indiana. He has treated women in the emergency department




6   Ex. 5, Barrows Decl. ¶ 2; Ex. 10, Foley Decl. ¶ 5.


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suffering complications from chemical abortion. Dr. Johnson sues on his own behalf

and on behalf of his current and future patients.

             Plaintiff Dr. George Delgado, M.D., is board-certified in family

medicine and in hospice and palliative medicine. He serves as the director of

medical affairs of Culture of Life Family Services, which based out of Escondido,

California, and provides comprehensive medical care and pro-life pregnancy clinic

services for women and children. He also serves as a medical advisor to the Abortion

Pill Rescue Network. Dr. Delgado established the Abortion Pill Reversal program—

a process that can reverse the effects of the chemical abortion drug regimen and

allow women and girls to continue their pregnancies.7 He has treated women

suffering complications from chemical abortion and seeking to reverse the effects of

chemical abortion. Dr. Delgado sues on his own behalf and on behalf of his current

and future patients.

                                  DEFENDANTS

             Defendant FDA is an agency of the United States government within

the United States Department of Health and Human Services (HHS). The Secretary

of HHS has delegated to the FDA the authority to administer the provisions of the

FFDCA for approving new drug applications and authorizing a risk evaluation and

mitigation strategy (REMS) for dangerous drugs. The address of the FDA’s

headquarters is 10903 New Hampshire Avenue, Silver Spring, Maryland 20993.




7Abortion Pill Reversal, https://www.abortionpillreversal.com/abortion-pill-
reversal/overview (last visited Nov. 17, 2022).


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             Defendant Robert Califf, M.D., who is being sued in his official

capacity, is the Commissioner of Food and Drugs at the FDA. He is responsible for

supervising the activities of the FDA, including the approval of new drug

applications and the issuance, suspension, waiver, or removal of a REMS.

Defendant Califf’s address is 10903 New Hampshire Avenue, Silver Spring,

Maryland 20993.

             Defendant Janet Woodcock, M.D., who is being sued in her official

capacity, is the Principal Deputy Commissioner, Office of the Commissioner, at the

FDA. She works closely with the Commissioner of Food and Drugs to develop and

implement key public health initiatives and oversees the agency’s day-to-day

functions. Defendant Woodcock served as the Acting Commissioner of Food and

Drugs from January 20, 2021, until February 17, 2022, and previously was the

Director of the FDA’s Center for Drug Evaluation and Research. Defendant

Woodcock’s address is 10903 New Hampshire Avenue, Silver Spring, Maryland

20993.

             Defendant Patrizia Cavazzoni, M.D., who is being sued in her official

capacity, is the Director of the FDA’s Center for Drug Evaluation and Research. She

is responsible for the regulation of drugs throughout their lifecycle, the development

of new and generic drugs, the evaluation of applications to determine whether drugs

should be approved, the monitoring of the safety of drugs after they are marketed,

and the taking of enforcement actions to protect the public from harmful drugs.




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Defendant Cavazzoni’s address is 10903 New Hampshire Avenue, Silver Spring,

Maryland 20993.

              Defendant HHS is a federal agency within the executive branch of the

U.S. government, including under 5 U.S.C. § 551 and 701(b)(1). Its address is 200

Independence Avenue SW, Washington, D.C. 20201.

              Defendant Xavier Becerra is the Secretary of HHS and is sued in his

official capacity. He is responsible for the overall operations of HHS, including the

FDA. His address at HHS is 200 Independence Avenue SW, Washington, D.C.

20201.

              Collectively and as applicable, all defendants are referred to herein as

the “FDA” or “Defendants.” Plaintiffs also sue Defendants’ employees, agents, and

successors in office.

              The federal officials are subject to the APA. 5 U.S.C. § 701(b); 5 U.S.C.

§ 551(1).

                             FACTUAL ALLEGATIONS

I.      Introduction

              This case challenges the FDA’s failure to abide by its legal obligations

to protect the health, safety, and welfare of women and girls8 when the agency

authorized the chemical abortion drugs mifepristone and misoprostol for use in the




8The FDA’s approval of chemical abortion lacks an age restriction and, therefore,
permits the use of the drug regimen by a pregnant girl of any age under 18 years.


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United States and subsequently eliminated necessary safeguards for pregnant

women and girls who undergo this dangerous drug regimen.

             First, the FDA never had the authority to approve these drugs for sale.

In 2000, the FDA approved chemical abortion drugs under 21 C.F.R. § 314, Subpart

H (Subpart H). This regulation authorizes the FDA to grant “accelerated approval”

of “certain new drug products that have been studied for their safety and

effectiveness in treating serious or life-threatening illnesses and that provide

meaningful therapeutic benefit to patients over existing treatments.” 21 C.F.R.

§ 314.500 (emphasis added).

             But chemical abortion drugs do not treat serious or life-threatening

illnesses. Indeed, pregnancy is a normal physiological state that many females

experience one or more times during their childbearing years. Pregnancy rarely

leads to complications that threaten the life of the mother or the child. Following

delivery, almost all women return to a normal routine without disability.9

             Likewise, chemical abortion drugs do not provide a “meaningful

therapeutic benefit” to women and girls over existing treatments.

             To the contrary, the FDA’s approval of chemical abortion drugs has

potentially serious and life-threatening effects on women and girls, especially when




9Ex. 11, Byron Calhoun, The maternal mortality myth in the context of legalized
abortion, 80 The Linacre Quarterly 264, 264–276 (2013); James Studnicki & Tessa
Longbons, Pregnancy Is Not More Dangerous Than Abortion, Nat’l Rev. (Aug. 28,
2022, 6:30 AM), https://www.nationalreview.com/2022/08/pregnancy-is-not-more-
dangerous-than-abortion/.


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compared to surgical abortion, which uses medical devices and tools to physically

remove a baby from inside the pregnant mother.

             Even though endocrine disruptors such as mifepristone could have

significant impacts on an adolescent girl’s developing body and reproductive system,

the FDA never required an assessment that evaluated the safety and effectiveness

of chemical abortion drugs on pregnant girls under 18 years of age.

             Second, the FDA has not only continued to keep chemical abortion

drugs on the market, but the agency has also eliminated the few safeguards it

initially established to protect women and girls who go through the chemical

abortion drug regimen.

             In particular, in 2016, the FDA (1) increased the gestational age for

which a pregnant woman or girl may have a chemical abortion from 49 days’

gestation to 70 days’ gestation; (2) changed the dosage and route of administration

for the chemical abortion drugs; (3) reduced the number of required in-person office

visits from three to one; (4) allowed non-doctors to prescribe and administer

chemical abortions; (5) failed to require a clinical study to determine the safety of

these changes to the chemical abortion drug regimen on pregnant girls under 18

years of age; and (6) eliminated the requirement for prescribers to report nonfatal

adverse events from chemical abortion—thus ensuring that the FDA and the public

would never learn of the dangers and injuries that would befall women and girls

from removing these safeguards.




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              What is more, in 2021, the FDA announced that it would allow

abortionists to dispense the chemical abortion drugs by mail or mail-order

pharmacy—an action that a longstanding federal law independently and expressly

prohibits.

              Plaintiffs now ask this Court to protect women and girls by holding

unlawful, setting aside, and vacating the FDA’s actions to approve and eliminate

the safeguards for those who take chemical abortion drugs.

II.     The Chemical Abortion Regimen and Its Adverse Health Effects

              The chemical abortion drug regimen requires the use of two drugs:

(1) mifepristone (also known as “RU-486” and “Mifeprex”) and (2) misoprostol.

              As an endocrine disruptor, mifepristone is a synthetic steroid that

blocks progesterone receptors in the uterus of a woman or girl. The hormone

progesterone is necessary for the healthy growth of a baby and the maintenance of a

pregnancy. When a woman or girl ingests the chemical abortion drug mifepristone,

the drug blocks the action of the natural hormone progesterone, chemically destroys

the baby’s environment in the uterus, blocks nutrition to the baby, and ultimately

starves the baby to death in the mother’s womb.10

              Because mifepristone alone works less than 25 percent of the time to

complete the abortion, the FDA’s chemical abortion drug regimen mandates the use




10See Ex. 4, Harrison Decl. at ¶ 21; Ex. 8, Skop Decl. at ¶ 10; Ex. 12, The FDA and
RU-486: Lowering the Standard for Women’s Health: Hearing Before the Subcomm.
on Crim. Just., Drug Pol’y, & Hum. Res. of the H. Comm. on Gov’t Reform, 109th
Cong. 4 (2006).


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of a second drug—misoprostol—to induce cramping and contractions in an attempt

to expel the baby from the mother’s womb.11

              The only other FDA-approved use of misoprostol is to reduce the risk of

gastric ulcers induced by nonsteroidal anti-inflammatory drugs (NSAIDs) in

patients at high risk of complications from gastric ulcers and patients at high risk of

developing gastric ulceration.12 Misoprostol’s label warns that the drug “should not

be taken by pregnant women to reduce the risk of ulcers” by NSAIDs.13

              The use of these two chemical abortion drugs causes significant

injuries and harms to pregnant women and girls.

              For example, upwards of ten percent (10%) of women who take

chemical abortion drugs will need follow-up medical treatment for an incomplete or

failed chemical abortion,14 with an average of thirty-nine percent (39%) of women

requiring surgery if taken in the second trimester.15




11 See Ex. 4, Harrison Decl. at ¶ 21; Ex. 13, 2002 Citizen Petition of AAPLOG to
FDA at 41 n.187 (Aug. 8, 2002); see also FDA-Approved Label for Mifepristone
(Mifeprex) (Mar. 2016), https://www.accessdata.fda.gov/drugsatfda_docs/label/
2016/020687s020lbl.pdf.
12 See, e.g., Ex. 14, FDA-Approved Label for Misoprostol (Cytotec) (Jan. 2017),

https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019268s051lbl.pdf.
13 Id.
14
   Ex. 18, Maarit Niinimaki et al., Comparison of rates of adverse events in
adolescent and adult women undergoing medical abortion: population register based
study, BJM, April 20, 2011, at 4.
15 Ex. 15, Maarit J. Mentula et al., Immediate adverse events after second trimester

medical termination of pregnancy: results of a nationwide registry study, 26 Hum.
Reprod. 927, 931 (2011).


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              Twenty percent (20%) of females will have an adverse event after

taking chemical abortion drugs—a rate four times higher than with surgical

abortion. This includes over fifteen percent (15%) of females experiencing

hemorrhaging and two percent (2%) having an infection during or after taking

chemical abortion drugs.16

              Chemical abortions are over fifty percent (50%) more likely than

surgical abortions to result in an emergency department visit within thirty days,

affecting one in twenty females.17

              The number of chemical abortion-related emergency room visits

increased by over five hundred percent (500%) between 2002 and 2015.18

              For those women and girls who take chemical abortion drugs, there is

a significant increase in risk of complications as the baby’s gestational age

increases. One study found that, after nine weeks’ gestation, almost four times as

many women and girls experience an incomplete abortion, nearly twice as many

suffer an infection, and over six times as many women and girls require surgical

abortion after consuming the chemical abortion drugs.19




16
   Ex. 16, Maarit Niinimaki et al., Immediate complications after medical compared
with surgical termination of pregnancy, 114 Obstetrics & Gynecology 795 (2009).
17
   Ex. 17, James Studnicki et al., A Longitudinal Cohort Study of Emergency Room
Utilization Following Mifepristone Chemical and Surgical Abortions, 1999-2015,
Health Serv. Rsch. & Managerial Epidemiology, Nov. 9, 2021.
18 Id at 5.

19 Ex. 18, Niinimaki, supra note 14, at 5.




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               Chemical abortion drugs have heightened risks for women and girls

with certain blood types. In fact, if a woman or girl with a Rh-negative blood type is

not administered certain medication (Rhogam) at the time of her chemical abortion,

she could experience isoimmunization, which threatens her ability to have future

successful pregnancies. If an Rh-negative woman or girl is left untreated, her future

baby will have a fourteen percent (14%) chance of being stillborn and a fifty percent

(50%) chance of being born alive but suffering neonatal death or brain injury.

Around fifteen percent (15%) of the U.S. population is at risk of this blood

condition.20

               Some abortion activists encourage women to lie to an emergency

department doctor by saying they are having a miscarriage if they suffer

complications requiring urgent care.21 If a chemical abortion is miscoded as a

miscarriage in the emergency room (which occurred sixty percent (60%) of the time

in one study), the treating doctor’s lack of knowledge results in the woman or girl




20 Ingrid Skop, The Evolution of “Self-Managed” Abortion: Does the Safety of Women
Seeking Abortion Even Matter Anymore?, Charlotte Lozier Institute (Mar. 1, 2022),
https://lozierinstitute.org/the-evolution-of-self-managed-abortion/.
21 See, e.g., Will a doctor be able to tell if you’ve taken abortion pills?, Women Help

Women (Sept. 23, 2019), https://womenhelp.org/en/page/1093/will-a-doctor-be-able-
to-tell-if-you-ve-taken-abortion-pills; How do you know if you have complications
and what should you do?, AidAccess, https://aidaccess.org/en/page/459/how-do-you-
know-if-you-have-complications-and-what-should-you-do (last visited Nov. 14,
2022).


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being at significantly greater risk of needing multiple hospitalizations and follow-up

surgery.22

              The risk of chemical abortions is not only physical: women and girls

have described that their chemical abortion experiences harmed their mental health

and left them feeling unprepared, silenced, regretful, or left with no other choice

before undergoing a chemical abortion.23

              Abortionists exacerbate this harm to a woman’s or girl’s mental health

by not adequately informing her about what she will see when she self-administers

chemical abortion drugs at home or in a hotel. For example, one woman was

surprised and saddened to see that her aborted baby “had a head, hands, and legs”

with “[d]efined fingers and toes.”24

              Given the FDA’s refusal to require an ultrasound, abortionists can

egregiously misdate the gestational age of a baby with devastating consequences.

One young woman has alleged that she did not receive an ultrasound or any other

physical examination to determine her baby’s gestational age prior to receiving




22 Ex. 19, James Studnicki et al., A Post Hoc Exploratory Analysis: Induced Abortion
Complications Mistaken for Miscarriage in the Emergency Room are a Risk Factor
for Hospitalization, Health Servs. Rsch. & Managerial Epidemiology, May 20, 2022.
23 Ex. 20, Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case

Study to Understand the Communicative Tensions in Women’s Medication Abortion
Narratives, 36 Health Commc’n 1485 (2021).
24 Caroline Kitchener, Covert network provides pills for thousands of abortions in

U.S. post Roe, Wash. Post: Politics (Oct. 18, 2022, 6:00 am),
https://www.washingtonpost.com/politics/2022/10/18/illegal-abortion-pill-network/.


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chemical abortion drugs from Planned Parenthood.25 The abortionist misdated the

baby’s gestational age as six weeks, resulting in the at-home delivery of a “lifeless,

fully-formed baby in the toilet,” later determined to be around 30-36 weeks old.26

Because of this chemical abortion, the woman alleges that she “has endured

significant stress, trauma, emotional anguish, physical pain, including laceration

and an accelerated labor and delivery unaided by medication, lactation, soreness,

and bleeding.”27

III.    The FDA’s Authority to Review, Approve, or Deny New Drug
        Applications

              The FDA’s approval of new drugs must comply with federal laws and

regulations that directly govern the agency, in addition to other laws that broadly

govern the federal government’s actions. Specifically, the FDA must comply with

the Federal Food, Drug, and Cosmetic Act (FFDCA), the Pediatric Research Equity

Act of 2003 (PREA), and the agency’s regulations. When taking regulatory action on

new drugs, the FDA must also meet the requirements of other federal laws

restricting the distribution of certain drugs.28




25 Complaint at 9, Doe v. Shah, No. 501531/2021, (Sup. Ct. of N.Y., Cnty. of Kings
Jan. 20, 2021), https://www.liveaction.org/news/wp-content/uploads/2022/10/Kings-
Co-501531_2021_JANE_DOE_v_MEERA_SHAH.pdf.
26 Id. at 10–11.

27 Id. at 11.

28 For a general overview of the FDA’s drug approval process, see How FDA

Approves Drugs and Regulates Their Safety and Effectiveness, Congressional
Research Service (May 8, 2018), https://crsreports.congress.gov/product/pdf/R/
R41983.


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      A.     New Drug Applications Under the Federal Food, Drug, and
             Cosmetic Act

             Under the FFDCA, anyone seeking to introduce into commerce and

distribute any new drug in the United States must first obtain the FDA’s approval

by filing a new drug application (NDA). 21 U.S.C. § 355(a).

             A drug may be considered “new” by reason of the “newness of use of

such drug in diagnosing, curing, mitigating, treating, or preventing a disease, or to

affect a structure or function of the body, even though such drug is not a new drug

when used in another disease or to affect another structure or function of the body.”

21 C.F.R. § 310.3(h)(4). A drug may also be considered “new” by reason of the

“newness of a dosage, or method or duration of administration or application, or

other condition of use prescribed, recommended, or suggested in the labeling of such

drug, even though such drug . . . is not a new drug.” Id. § 310.3(h)(5).

             The NDA must contain extensive scientific data showing the safety

and effectiveness of the drug. 21 U.S.C. § 355(d); 21 C.F.R. § 314.125.

             Under the FFDCA, the FDA must reject an application if the clinical

investigations “do not include adequate tests by all methods reasonably applicable

to show whether or not such drug is safe for use under the conditions prescribed,

recommended, or suggested in the proposed labeling thereof.” 21 U.S.C. § 355(d);

21 C.F.R. § 314.125(b)(2).

             The FDA must also reject an application if “the results of such tests

show that such drug is unsafe for use under such conditions or do not show that




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such drug is safe for use under such conditions.” 21 U.S.C. § 355(d); 21 C.F.R.

§ 314.125(b)(3).

             The FDA shall refuse an application if, based upon information

submitted to the agency or upon the basis of any other information before the

agency, the FDA “has insufficient information to determine whether such drug is

safe for use under such conditions.” 21 U.S.C. § 355(d); 21 C.F.R. § 314.125(b)(4).

             Finally, the FDA must deny an application if “there is a lack of

substantial evidence that the new drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the proposed labeling thereof.” 21 U.S.C. § 355(d); 21 C.F.R. §

314.125(b)(5).

             The FFDCA defines “substantial evidence” as “evidence consisting of

adequate and well-controlled investigations, including clinical investigations, by

experts qualified by scientific training and experience to evaluate the effectiveness

of the drug involved, on the basis of which it could fairly and responsibly be

concluded by such experts that the drug will have the effect it purports or is

represented to have under the conditions of use prescribed, recommended, or

suggested in the labeling or proposed labeling thereof.” 21 U.S.C. § 355(d).

             If a sponsor of an approved drug subsequently seeks to change the

labeling, market a new dosage or strength of the drug, or change the way it

manufactures a drug, the company must submit a supplemental new drug




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application (sNDA) seeking the FDA’s approval of such changes. 21 U.S.C. § 355(b);

21 C.F.R. §§ 314.54, 314.70.

             Only the sponsor “may submit a supplement to an application.” 21

C.F.R. § 314.71(a).

             “All procedures and actions that apply to an application under [21

C.F.R.] § 314.50 also apply to supplements, except that the information required in

the supplement is limited to that needed to support the change.” 21 C.F.R.

§ 314.71(b); see also 21 C.F.R. § 314.54(a) (“application need contain only that

information needed to support the modification(s) of the listed drug”).

             The sNDA must also show that the drug is safe and effective for “the

conditions of use prescribed, recommended, or suggested in the proposed labeling.”

21 U.S.C. § 355(d).

             The FFDCA allows a generic drug manufacturer to submit an

abbreviated new drug application (ANDA) for approval to introduce into commerce

and distribute a generic version of an approved drug. 21 U.S.C. § 355(j).

             In the ANDA, the generic drug manufacturer must show, among other

things, that (a) the conditions of use prescribed, recommended, or suggested in the

labeling proposed for the new drug have been previously approved for a drug listed

and (b) the drug product is chemically the same as the already approved drug,

allowing it to rely on the FDA’s previous finding of safety and effectiveness for the

approved drug. The route of administration, dosage form, and strength must also be

the same. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94.




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        B.    Assessments on Pediatric Populations

              In 1998, the FDA issued a regulation, called the Pediatric Rule,

requiring an assessment specifically powered to determine the safety and

effectiveness of a new drug on pediatric patients.29 This rule allowed for full or

partial waivers of its pediatric assessment requirements, set forth under then 21

C.F.R. § 314.55(c).

              A federal district court subsequently held that the FDA had exceeded

its statutory authority when issuing the Pediatric Rule and thus enjoined the FDA

from enforcing the regulation. See Ass’n of Am. Physicians & Surgeons v. FDA, 226

F. Supp. 2d 204 (D.D.C. 2002).

              In response, President George W. Bush and Congress enacted PREA to

codify the Pediatric Rule legislatively. This law expressly requires studies on the

safety and effectiveness of drugs intended for pediatric populations, unless certain

exceptions apply. The FDA may require an assessment on the drug’s safety and

effectiveness, extrapolate findings from studies on adult populations, or waive the

assessment for pediatric populations. 21 U.S.C. § 355c.

              In general, PREA requires an application or supplement to an

application for a drug to include an assessment on the safety and effectiveness of

the drug for the claimed indications in all relevant pediatric subpopulations. 21

U.S.C. § 355c(a)(2)(A)(i). This assessment must also support dosing and



29Ex. 21, Regulations Requiring Manufacturers to Assess the Safety and
Effectiveness of New Drugs and Biological Products in Pediatric Patients, 63 Fed.
Reg. 66,632 (Dec. 2, 1998).


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administration for each pediatric subpopulation for which the drug is safe and

effective. 21 U.S.C. § 355c(a)(2)(A)(ii).

              Under limited circumstances, PREA allows the FDA to avoid this

assessment and, instead, extrapolate the safety and effectiveness of a drug for

pediatric populations: “If the course of the disease and the effects of the drug are

sufficiently similar in adults and pediatric patients, the [FDA] may conclude that

pediatric effectiveness can be extrapolated from adequate and well-controlled

studies in adults, usually supplemented with other information obtained in

pediatric patients.” 21 U.S.C. § 355c(2)(B)(i) (emphasis added).

              To support this extrapolation, the FDA must include “brief

documentation of the scientific data supporting the conclusion” that the course of

the disease and the effects of the drug are sufficiently similar in adults and

pediatric patients. 21 U.S.C. § 355c(B)(iii) (emphasis added).

              In addition, PREA also allows the FDA to grant a full or partial waiver

of the requirement for pediatric assessments or reports on the investigation for a

drug if one of the following situations exists: (1) “necessary studies are impossible or

highly impracticable”; (2) “there is evidence strongly suggesting that the drug or

biological product would be ineffective or unsafe in all pediatric age groups”; or (3)

the drug “does not represent a meaningful therapeutic benefit over existing

therapies for pediatric patients” and it “is not likely to be used in a substantial

number of pediatric patients.” 21 U.S.C. § 355c(a)(5)(A), (B).




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               PREA also deemed a waiver or deferral issued under the Pediatric

Rule between April 1, 1999, and December 3, 2003, to be a waiver or deferral under

21 U.S.C. § 355c(a). 21 U.S.C. § 355c note.

        C.     Subpart H Regulations for Accelerated Approval of Certain
               New Drugs for Serious and Life-Threatening Illnesses

               Both the FFDCA and PREA serve as the primary laws governing the

FDA’s review and approval of new drugs. The FDA has also implemented certain

regulations to effectuate its legal obligations under these laws and to address

certain public health crises over the years.

               For example, on December 11, 1992, the FDA published the final rule,

“New Drug, Antibiotic, and Biological Drug Product Regulations; Accelerated

Approval.”30

               This final rule established procedures “under which FDA will

accelerate approval of certain new drugs and biological products for serious or life-

threatening illnesses, with provision for required continued study of the drugs’

clinical benefits after approval or for restrictions on distribution or use, where those

are necessary for safe use of the drugs.”31

               The FDA intended these procedures “to provide expedited marketing of

drugs for patients suffering from such illnesses when the drugs provide a

meaningful therapeutic advantage over existing treatment.”32


30 Ex. 22, New Drug, Antibiotic, and Biological Drug Product Regulations;
Accelerated Approval, 57 Fed. Reg. 58,942 (Dec. 11, 1992).
31 Id. (emphasis added).

32 Id. (emphasis added).




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               As codified under Subpart H, the FDA defined the scope of the new

regulations:

        This subpart applies to certain new drug products that have been
        studied for their safety and effectiveness in treating serious or life-
        threatening illnesses and that provide meaningful therapeutic benefit
        to patients over existing treatments (e.g., ability to treat patients
        unresponsive to, or intolerant of, available therapy, or improved
        patient response over available therapy).

21 C.F.R. § 314.500 (emphasis added).

               If the FDA’s review under Subpart H concludes that a drug is effective

but can be safely used only if distribution or use is restricted, the agency must

“require such postmarketing restrictions as are needed to assure safe use of the

drug product.” 21 C.F.R. § 314.520(a).

               Such restrictions may include distribution (1) “restricted to certain

facilities or physicians with special training or experience” or (2) “conditioned on the

performance of specified medical procedures.” 21 C.F.R. § 314.520(a)(1), (2).

               The limitations must “be commensurate with the specific safety

concerns presented by the drug product.” 21 C.F.R. § 314.520(b).

               Under 21 C.F.R. § 314.530, the FDA may withdraw approval of drugs

approved under Section 314.520 if:

               (1) A postmarketing clinical study fails to verify clinical benefit;

               (2) The applicant fails to perform a required postmarketing study with
                   due diligence;

               (3) Use after marketing demonstrates that postmarketing restrictions
                   are inadequate to assure safe use of the drug product;

               (4) The applicant fails to adhere to the postmarketing restrictions
                   agreed upon;


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               (5) The promotional materials are false or misleading; or

               (6) Other evidence demonstrates that the drug product is not shown to
                   be safe or effective under its conditions of use.

               The FDA’s preamble to the Subpart H rulemaking stated that “[t]he

burden is on the applicant to ensure that the conditions of use under which the

applicant’s product was approved are being followed.”33

               The only way the FDA can terminate an applicant’s Subpart H

restrictions is to notify the applicant that “the restrictions . . . no longer apply”

because the “FDA [has] determine[d] that safe use of the drug product can be

assured through appropriate labeling.” 21 C.F.R. § 314.560.

         D.    Drugs Approved with Previous Subpart H Restrictions Deemed
               to Have Risk Evaluation and Mitigation Strategies

               Congress decided to codify into law the FDA’s postmarketing

regulations under Subpart H when it enacted the Food and Drug Administration

Amendments Act of 2007 (FDAAA) and created a new section of the FFDCA under

21 U.S.C. § 355-1. This new section authorizes the FDA to require persons

submitting certain new drug applications to submit and implement a risk

evaluation and mitigation strategy (REMS) if the FDA determines that a REMS is

“necessary to ensure that the benefits of a drug outweigh the risks of the drug.”

21 U.S.C. § 355-1(a).

               Section 909(b)(1) of the FDAAA specified that a “drug that was

approved before the effective date of this Act is . . . deemed to have in effect an



33   Ex. 22, 57 Fed. Reg. at 58,952.


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approved [REMS] . . . if there are in effect on the effective date of this Act elements

to assure safe use [pursuant to Subpart H, 21 C.F.R. § 514.520].” H.R. 3580, 110th

Cong. (2007). Thus, if the FDA previously attached postmarketing restrictions on a

drug approved under Subpart H, the FDAAA converted those restrictions into a

REMS.

             Under the FDAAA, to allow safe access to drugs with known serious

risks, the FDA may require that the REMS “include such elements as are necessary

to assure safe use of the drug, because of its inherent toxicity or potential

harmfulness” if the agency determines that the drug “is associated with a serious

adverse drug experience.” 21 U.S.C. § 355-1(f)(1).

             These “Elements to Assure Safe Use” (ETASU) may require

(1) prescribers of the drug “have particular training or experience” or be “specially

certified,” (2) practitioners or health care settings that dispense the drug be

“specially certified,” (3) doctors dispense the drug to patients “only in certain health

care settings, such as hospitals,” (4) doctors dispense the drug to patients “with

evidence or other documentation of safe-use conditions, such as laboratory test

results,” (5) each patient be subject to “certain monitoring,” and (6) each patient be

enrolled in a “registry.” 21 U.S.C. § 355-1(f)(3).

             The FDA may also require an applicant to monitor and evaluate

implementation of the REMS, in addition to working to improve those elements.

21 U.S.C. § 355-1(g).




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                The FDA may also include a communication plan to health care

providers as part of the REMS to disseminate certain information about the drug

and its risks. 21 U.S.C. § 355-1(e)(3).

                An applicant “may propose the addition, modification, or removal of

[the REMS] . . . and shall include an adequate rationale to support such proposed

addition, modification, or removal.” 21 U.S.C. § 355-1(g)(4)(A).

IV.   Federal Laws Restrict Distribution of Chemical Abortion Drugs

                Two federal laws restrict the distribution of abortion-inducing drugs.

18 U.S.C. §§ 1461–62. These laws apply to both upstream and downstream

distribution.

                First, 18 U.S.C. § 1461 prohibits the use of postal “mails” to convey or

deliver chemical abortion drugs. Specifically, it prohibits the mailing or delivery by

any letter carrier of “[e]very article or thing designed, adapted, or intended for

producing abortion” and “[e]very article, instrument, substance, drug, medicine, or

thing, which is advertised or described in a manner calculated to lead to another to

use or apply it for producing abortion.”

                Second, 18 U.S.C. § 1462 broadly prohibits the use of “any express

company or other common carrier” to transport abortion drugs in interstate or

foreign commerce. Specifically, it prohibits the use of any express company or

common carrier to distribute “any drug, medicine, article, or thing designed,

adapted, or intended for producing abortion.”




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V.      The FDA’s Review of the Population Council’s Application to Market
        Chemical Abortion Drugs in the United States

              The French pharmaceutical company Roussel Uclaf S.A. first

developed and tested mifepristone under the name RU-486. By April 1990, the drug

had become fully available in France.34

              But Roussel Uclaf’s German parent company, Hoechst AG, prohibited

the drug manufacturer from attempting to enter the U.S. market and filing a new

drug application with the FDA.35 Hoechst’s resistance and desire to keep a low

profile was due, in part, to its corporate history and complicity in previous mass

genocide.36

              Nevertheless, on January 22, 1993—his second full day in office—

President Bill Clinton directed then-HHS Secretary Donna Shalala to assess

initiatives to promote the testing and licensing of RU-486 in the United States.37

              According to a Roussel Uclaf official, President Clinton also wrote to

Hoechst asking the company to file a new drug application with the FDA, which

Hoechst refused to do.38




34 Ex. 13, 2002 Citizen Petition at 7–8.
35 Id at 8.

36 Julie A. Hogan, The Life of the Abortion Pill in the United States, at 23–24 (2000),

http://nrs.harvard.edu/urn-3:HUL.InstRepos:8852153 (“Hoechst traces its corporate
history to I.G. Farben, the manufacturer of Zyklon-B, which was used in the gas
chambers of Auschwitz,” and therefore “did not want to be credited with doing to
fetuses what the Nazis had done to the Jews.”).
37 Ex. 13, 2002 Citizen Petition at 8.

38 Id.




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              In early 1993, as HHS later reported, Secretary Shalala and then-FDA

Commissioner David Kessler likewise “communicated with senior Roussel Uclaf

officials to begin efforts to pave the way for bringing RU-486 into the American

marketplace.”39

              Specifically, according to HHS, “[i]n April 1993, representatives of

FDA, Roussel Uclaf and the Population Council, a not-for-profit organization, met to

discuss U.S. clinical trials and licensing of RU-486.” Between April 1993 and May

1994, the parties continued their negotiations.40

              “The Population Council is a nonprofit founded in 1952 by John D.

Rockefeller III to address supposed world overpopulation. . . . [Rockefeller] served as

the organization’s first president.”41

              The talks between the FDA, the Population Council, and Roussel Uclaf

culminated in what HHS called a “donation”: Roussel Uclaf transferred, “without

remuneration, its United States patent rights to mifepristone (RU-486) to the

Population Council.”42

              After obtaining the American patent rights to mifepristone, the

Population Council conducted clinical trials in the United States.43



39 Id. (quoting HHS Fact Sheet, Mifepristone (RU-486): Brief Overview (May 16,
1994)).
40 HHS Fact Sheet, Mifepristone (RU-486): Brief Overview.

41 Population Council, https://www.influencewatch.org/non-profit/population-

council/ (last visited Nov. 15, 2022).
42 Ex. 13, 2002 Citizen Petition at 8–9 (quoting HHS Press Release, Roussel Uclaf

Donates U.S. Patent Rights for RU-486 to Population Council, (May 16, 1994)).
43 Id. at 9.




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              The Population Council then filed a new drug application for

“mifepristone 200 mg tablets” on March 18, 1996.44

              The FDA initially accorded the drug standard review; but in a May 7,

1996, letter, the FDA’s Center for Drug Evaluation and Research notified the

Population Council that mifepristone would receive priority review.45

              On September 18, 1996, the FDA issued a letter stating that the

application was “approvable” and requested more information from the Population

Council.46

              On February 18, 2000, the FDA issued a second “approvable” letter,

setting forth the remaining prerequisites for approval. This letter announced that

the FDA had “considered this application under the restricted distribution

regulations contained in 21 C.F.R. § 314.500 (Subpart H) and [had] concluded that

restrictions as per [21] CFR § 314.520 on the distribution and use of mifepristone

are needed to assure safe use of this product.”47

              The FDA told the Population Council that the agency would proceed

under Subpart H because the FDA “concluded that adequate information has not

been presented to demonstrate that the drug, when marketed in accordance with

the terms of distribution proposed, is safe and effective for use as recommended.” 48




44 Id. at 10.
45 Id.
46 Id. at 10–11.

47 Ex. 23, FDA Letter to Population Council re: NDA (Feb. 18, 2000) at 5.

48 Id.




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              Given the known dangers of chemical abortion drugs, the FDA needed

to approve the Population Council’s application under Subpart H because this

regulatory authority provided the FDA with the only means to restrict the drugs’

distribution and use “to assure safe use.” 21 C.F.R. 314.520.

              In response to the proposed Subpart H consideration, the Population

Council objected and explained that its application for mifepristone did not fall

within the scope of Subpart H.49

              The Population Council thus wrote a letter to the FDA just three

weeks before the final approval of mifepristone, arguing that “it is clear that the

imposition of Subpart H is unlawful, unnecessary, and undesirable. We ask FDA to

reconsider.”50

              The Population Council stated that “[n]either pregnancy nor unwanted

pregnancy is an illness, and Subpart H is therefore inapplicable for that reason

alone.”51

              Moreover, as the Population Council observed, “[n]either is pregnancy

nor unwanted pregnancy a ‘serious’ or ‘life-threatening’ situation as that term is

defined in Subpart H.”52

              And after quoting the preamble to the FDA’s Subpart H Final Rule,

the Population Council’s letter stated that “[t]he plain meaning of these terms does



49 Ex. 13, 2002 Citizen Petition at 20.
50 Id.

51 Id.

52 Id.




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not comprehend normal, everyday occurrences such as pregnancy and unwanted

pregnancy.”53

              The letter added that unlike HIV infection, pulmonary tuberculosis,

cancer, and other illnesses, “pregnancy and unwanted pregnancy do not affect

survival or day-to-day functioning as those terms are used in Subpart H.”54

              The Population Council explained that “although a pregnancy

‘progresses,’” the development of a pregnancy “is hardly the same as the worsening

of a disease that physicians call progression.”55

              Despite these last-minute objections, the Population Council

ultimately ceased its opposition to the FDA’s intention to approve chemical abortion

drugs under Subpart H on September 15, 2000.56

VI.     The FDA’s Approval of the Population Council’s Application to
        Market Chemical Abortion Drugs in the United States.

              On September 28, 2000, the FDA approved chemical abortion drugs

under Subpart H “for the medical termination of intrauterine pregnancies through

49 days’ pregnancy.”57

              The FDA informed the Population Council that Subpart H “applies

when FDA concludes that a drug product shown to be effective can be safely used



53 Id.
54 Id.

55 Id.

56 Ex. 24, 2000 FDA Approval Memo. to Population Council re: NDA 20-687

Mifeprex (mifepristone) at 6 (Sept. 28, 2000).
57 Ex. 25, 2000 FDA Approval Letter for Mifeprex (mifepristone) Tablets at 1 (Sept.

28, 2000).


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only if distribution or use is restricted, such as to certain physicians with certain

skills or experience.”58

              The FDA would not have been able to approve the chemical abortion

drugs without invoking Subpart H, as it was the only authority available to the

agency to allow it to apply postmarketing restrictions on the drugs.59

              To defend its use of Subpart H, the FDA agency declared that “the

termination of an unwanted pregnancy is a serious condition within the scope of

Subpart H” and asserted that “[t]he meaningful therapeutic benefit over existing

surgical abortion is the avoidance of a surgical procedure.”60

              The FDA stated that the chemical abortion drugs’ “labeling is now part

of a total risk management program.” In particular, “[t]he professional labeling,

Medication Guide, Patient Agreement, and Prescriber’s Agreement will together

constitute the approved product labeling to ensure any future generic drug

manufacturers will have the same risk management program.”61

              The 2000 approval required the Population Council to include on the

drugs’ label a “black box warning for special problems, particularly those that may

lead to death or serious injury.”62



58 Ex. 24, 2000 FDA Approval Memo. at 6.
59 Ex. 26, 2003 Citizen Petitioners’ Response to Opposition Comments filed by The
Population Council, Inc. and Danco Laboratories, LLC to Comments at 2–4 (Oct. 10,
2003) https://www.aaplog.org/wp-content/uploads/2002/08/ResponseToDanco10-
03reRU-486.pdf (2003 Response).
60 Ex. 24, 2000 Approval Memo. at 6.

61 Id. at 2.

62 Id.




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                The approved regimen in 2000 contained measures to assure safe use,

including requiring at least three office visits: (1) the Day 1 in-person dispensing

and administration of mifepristone; (2) the Day 3 in-person dispensing and

administration of misoprostol; and (3) the Day 14 return to the doctor’s office to

confirm no fetal parts or tissue remain.63

                The FDA explained that “[r]eturning to the health care provider on

Day 3 for misoprostol . . . assures that the misoprostol is correctly administered,”

and it “has the additional advantage of contact between the patient and health care

provider to provide ongoing care, and to reinforce the need to return on Day 14 to

confirm that expulsion has occurred.”64

                The FDA’s Subpart H restrictions included the following requirements

for abortionists: the ability to assess the duration of pregnancy accurately and to

diagnose ectopic pregnancies (chemical abortion drugs cannot end an ectopic

pregnancy, but the symptoms of these drugs resemble hemorrhaging from a life-

threatening ectopic pregnancy65); the requirement to report any hospitalization,

transfusion, or other serious events; and the ability to provide surgical intervention

or to ensure that the patient has access to other qualified physicians or medical

facilities.66



63 Id. at 2–3.
64 Id. at 3.
65 Ex. 8, Skop Decl. ¶ 29; AAPLOG Statement on FDA removing Mifepristone safety

protocols (REMS), at 2, https://aaplog.org/wp-content/uploads/2021/04/AAPLOG-
Statement-on-FDA-removing-mifepristone-REMS-April-2021-1.pdf.
66 Ex. 24, 2000 Approval Memo. at 6.




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              The FDA’s restrictions on the distribution of mifepristone included:

              •   In-person dispensing from the doctor to the woman or girl;

              •   Secure shipping procedures;

              •   Tracking system ability;

              •   Use of authorized distributors and agents; and

              •   Provision of the drug through a direct, confidential physician

                  distribution system that ensures only qualified physicians will

                  receive the drug for patient dispensing.67

              The FDA did not include prohibitions on the upstream distribution of

the chemical abortion drugs—from the manufacturer or importer to the

abortionist—by mail, express company, or common carrier as proscribed by federal

laws, nor did the FDA acknowledge and address these laws.68

              The FDA also outlined the Population Council’s two post-approval

study commitments.69 The Population Council was to conduct “a monitoring study

to ensure providers who did not have surgical-intervention skills and referred

patients for surgery had similar patient outcomes as those patients under the care

of physicians who possessed surgical skills (such as those in the clinical trial).”70




67 Id.
68 Id.

69 Ex. 25, 2000 Approval Letter at 2–3.

70 Ex. 24, 2000 Approval Memo. at 7.




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The Population Council also agreed “to study ongoing pregnancies and their

outcomes through a surveillance, reporting, and tracking system.”71

               In the 2000 Approval, the FDA informed the Population Council that

the agency was “waiving the pediatric study requirement for this action on this

application.”72 Without explanation of the effects of chemical abortion drugs on

puberty or substantiation of its decision, the FDA asserted that “there is no

biological reason to expect menstruating females under age 18 to have a different

physiological outcome with the regimen.” 73

               The FDA nonetheless highlighted the findings of one limited study

that included 51 subjects under 20 years of age. The agency explained that the

approved labeling states that the safety and efficacy for girls under 18 years of age

“have not been studied” because the raw data from this limited study had not been

submitted for review, the pediatric population was not part of the NDA indication,

the data on safety and effectiveness were only reviewed for the indication’s age

group (18–35 years of age), and the clinical trials excluded patients younger than 18

years old.74

               The FDA believed it would eventually overcome this data deficiency

because the Population Council would “collect outcomes in their [post-approval]




71 Id.
72 Ex. 25, 2000 Approval Letter at 3.

73 Ex. 24, 2000 Approval Memo. at 7.

74 Id.




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studies of women of all ages to further study this issue”75—even though those

studies were not designed to evaluate the safety and effectiveness of mifepristone on

girls under the age of 18 years.

              But the FDA released the Population Council from its obligation to

conduct these studies in 2008.76

              Therefore, since the 2000 Approval, the FDA has continued to allow

pregnant girls of any age to take chemical abortion drugs—despite never requiring a

study specifically designed to determine the safety and effectiveness of these drugs.

              With the FDA approval in hand, the Population Council then granted

Danco Laboratories, LLC (“Danco”), which was incorporated in the Cayman Islands

in 1995, an exclusive license to manufacture, market, and distribute Mifeprex in the

United States.77

VII.    2002 Citizen Petition

              The FDA’s regulations prohibit a litigant from going straight to court

to challenge the agency’s approval of a new drug. Instead, the FDA’s regulations

require the submission of a “citizen petition” requesting the agency take or refrain

from taking any form of administration action before filing a lawsuit. 21 C.F.R.

§§ 10.30, 10.45(b). These regulations allow the FDA to indefinitely delay a final

response to a citizen petition. 21 C.F.R. § 10.30(e)(2)(iv). The FDA’s eventual


75 Id.
76 Ex. 27, 2016 FDA Letter to AAPLOG, Christian Medical & Dental Associations,

and Concerned Women for America denying 2002 Citizen Petition, Docket No. FDA-
2002-P-0364, at 31 (Mar. 29, 2016) (2016 Petition Denial).
77 Ex. 13, 2002 Citizen Petition at 9.




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decision on a citizen petition constitutes a final agency action for the underlying

FDA action and the related citizen petition, and both are reviewable in the courts

under the APA. 21 C.F.R. § 10.45(c).

              In August 2002, Plaintiffs AAPLOG and Christian Medical & Dental

Associations, along with the Concerned Women for America, (collectively, 2002

Petitioners), submitted a citizen petition (2002 Citizen Petition) with the FDA

pursuant to 21 C.F.R. §§ 10.30 and 10.35; 21 C.F.R. Part 314, Subpart H (§§

314.500–314.560); and Section 505 of the FFDCA (21 U.S.C. § 355).78

              The 2002 Petitioners requested that the FDA impose an immediate

stay of the approval of mifepristone and ultimately revoke the approval, in addition

to requesting a full FDA audit of the underlying clinical studies.79

              The 2002 Petitioners stated that the FDA’s approval of mifepristone in

2000 violated the APA for many reasons, including because it was arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law,

given that (1) the FDA lacked the authority to approve mifepristone under Subpart

H and (2) the FDA incorporated misoprostol as part of the chemical abortion

regimen despite not receiving an sNDA for this new use of the drug.80

              The 2002 Petitioners explained how the 2000 Approval violated

Subpart H because pregnancy, without major complications, is not a “serious or life-

threatening illness” for purposes of this accelerated approval authority. “Thus,


78 Id. at 1.
79 Id.

80 Id. at 18–23, 41–48.




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pregnancy is not the kind of exceptional circumstance that falls within the scope of

Subpart H. The fact that the Mifeprex Regimen is intended for healthy women

provides further evidence of this point.”81

              Moreover, “there is a less dangerous, more effective alternative to

Mifeprex available for the termination of pregnancies: namely, surgical abortions.”

Nor does mifepristone “treat a subset of the female population that is unresponsive

to, or intolerant of surgical abortion.” Indeed, as the 2000 Mifeprex label

acknowledged, because “medical abortion failures should be managed with surgical

termination,” the option for surgical abortion must be available for any woman or

girl who undergoes chemical abortion.82

              Nor did the clinical trials compare chemical abortion with the existing

“therapy,” surgical abortion, to support a finding of a “meaningful therapeutic

benefit over existing treatments.”83

              The 2002 Petitioners also pointed out that the clinical trials that the

Population Council submitted to support its NDA failed to present “substantial

evidence” that the mifepristone regimen is safe and effective.84

              In fact, as the 2002 Citizen Petition demonstrated, the FDA’s 2000

Approval has endangered women’s lives because it lacked the necessary safeguards

for this dangerous regimen. For instance, the FDA failed to require an ultrasound,



81 Id. at 19.
82 Id. at 21–22.

83 Id. at 37.

84 Id. at 24–41.




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which is necessary both to determine an accurate gestational age of the baby and to

rule out an ectopic pregnancy. The FDA also did not restrict the regimen to

physicians who have received proper training and possess admitting privileges to

emergency facilities. In light of the FDA’s subsequent acknowledgment that women

had serious adverse events since the 2000 Approval, the 2002 Citizen Petition urged

the FDA to “react to these sentinel events because the clinical trials underlying the

approval of the Mifeprex Regimen did not adhere to FDA’s endorsed scientific

methodology for such trials.”85

                What is more, the 2002 Petitioners challenged the 2000 Approval

because the U.S. clinical trial for mifepristone did not mirror the anticipated

conditions of use under the approved label despite the FFDCA’s requirements under

21 U.S.C. § 355(d). Under the conditions of the U.S. clinical trial:

                (a) the investigators relied on transvaginal ultrasonography (along

                     with menstrual history and pelvic examination) to confirm the

                     gestational age of each pregnancy and exclude women with ectopic

                     pregnancies;

                (b) the physicians had experience in performing surgical abortions,

                     were trained in the administration of the mifepristone-misoprostol

                     procedure, and had admitting privileges at medical facilities that

                     could provide emergency care and hospitalization; and




85   Id. at 49–71.


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              (c) all patients needed to be within one hour of emergency facilities or

                   the facilities of the principal investigator; and

              (d) women were monitored for four hours for adverse events after

                   taking misoprostol.86

              Because the FDA’s 2000 Approval did not require these safeguards for

women and girls using chemical abortion drugs, the 2002 Petitioners reasoned that

the agency should not have extrapolated conclusions about the safety and

effectiveness of chemical abortion drugs under the approved label.87

              The 2002 Citizen Petition also requested that the FDA withdraw the

2000 Approval of the chemical abortion drugs because the sponsor had not been

enforcing the limited restrictions on the use of the drug regimen. Among the

deviations from the approved regimen, physicians were offering chemical abortion

drugs to women with pregnancies beyond the maximum seven weeks and

eliminating the second of the three prescribed visits (i.e., in-facility administration

of misoprostol).88

              Subpart H authorizes the FDA to withdraw approval of a drug

approved under Section 514.520 if “[t]he applicant fails to adhere to the

postmarketing restrictions agreed upon.” 21 C.F.R. § 314.530(a)(4). Because “the

burden is on the applicant to ensure that the conditions of use under which the




86 Id. at 75–76.
87 Id. at 76.

88 Id. at 71–75.




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applicant’s product was approved are being followed,” the 2002 Petitioners asked

the FDA to exercise its authority to withdraw its approval for mifepristone.89

              The 2002 Petitioners also challenged the FDA’s decision to waive the

agency’s regulatory requirement to conduct a pediatric study—the failure of which

endangered the health and safety of girls—because it did not meet the requirements

for such a waiver.90

              The 2002 Citizen Petition next pointed out that the FDA impermissibly

reduced the Population Councils’ post-approval studies during the final stages of

the FDA’s review in 2000. “Not only did FDA approve the NDA on the basis of

clinical trials so defective with respect to their design and execution as to render

them insufficient to establish short-term safety and effectiveness, but FDA also

permitted the Population Council to substantially pare down the [post-approval]

trials that it would perform.”91

              Finally, the FDA then “compounded its failure to require the

Population Council and Danco to comply with the strictures of the Pediatric Rule

when it permitted them to consider the effect of the Mifeprex Regimen on patients

under 18 as part of another study rather than as a separate [post-approval]

study.”92 Because chemical abortion drugs “could conceivably interfere with




89 Ex. 13, 2002 Citizen Petition at 75.
90 Id. at 76–83.

91 Id. at 84–85.

92 Id. at 86.




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pubertal development,” girls under 18 years of age deserve separate consideration

in studies with significant numbers of participants.93

               On October 10, 2003, the 2002 Petitioners filed a response (“2003

Response”) to opposition comments by the Population Council and Danco. The 2003

Response not only responded to these comments, but it also provided the FDA with

additional evidence that the safety and effectiveness of chemical abortion drugs

have not been established in accordance with the requirements of the FFDCA or the

FDA’s own regulations.94

VIII. Implementation of a REMS for Mifepristone

               After receiving the 2002 Citizen Petition, the FDA’s next significant

regulatory action on chemical abortion drugs involved incorporating Congress’s

mandate to convert Subpart H postmarketing restrictions for previously approved

drugs into a REMS.

               As previously discussed, Section 909(b)(1) of the FDAAA specified that

a “drug that was approved before the effective date of this Act is . . . deemed to have

in effect an approved [REMS] . . . if there are in effect on the effective date of this

Act elements to assure safe use [pursuant to 21 C.F.R. § 514.520].”




93   Id. at 86, n. 377.
94   Ex. 26, 2003 Response.


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              In a March 27, 2008, Federal Register notice, the FDA identified

chemical abortion drugs as one of “those drugs that FDA has determined will be

deemed to have in effect an approved REMS.”95

              In 2011, pursuant to the 2008 notice, the FDA approved a REMS for

chemical abortion drugs in accordance with section 909(b)(1) of the FDAAA.96

              The FDA “determined that a REMS is necessary for MIFEPREX

(mifepristone) to ensure the benefits of the drug outweigh the risks of serious

complications.”97

               The REMS incorporated the previous Subpart H restrictions and

consisted of a Medication Guide, elements to assure safe use, an implementation

system, and a timetable for submission of assessments of the REMS.98

              The REMS required “prescribers to certify that they are qualified to

prescribe MIFEPREX (mifepristone) and are able to assure patient access to

appropriate medical facilities to manage any complications.”99

              The FDA also instructed Danco that, “[a]s part of the approval under

Subpart H, as required by 21 CFR § 314.550, you must submit all promotional



95 Ex. 28, Identification of Drug and Biological Products Deemed to Have Risk
Evaluation and Mitigation Strategies for Purposes of the Food and Drug
Administration Amendments Act of 2007, 73 Fed. Reg. 16,313, 16,314 (Mar. 27,
2008).
96 Ex. 29, 2011 FDA Supplemental Approval Letter to Danco Laboratories, LLC at 1

(June 6, 2011) (2011 Approval Letter).
97 Id. at 1.

98 Id. at 1; Ex. 30, 2011 REMS for NDA 20-687 Mifeprex (mifepristone) Tablets,

200mg (June 8, 2011) (2011 REMS).
99 Ex. 29, 2011 Approval Letter at 1; Ex. 30, 2011 REMS.




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materials, including promotional labeling as well as advertisements, at least 30

days before the intended time of initial distribution of the labeling or initial

publication of the advertisement.”100

IX.      The FDA’s Denial of the 2002 Citizen Petition

               Almost fourteen years after receiving the 2002 Citizen Petition—on

March 29, 2016—the FDA denied the 2002 Citizen Petition (“2016 Denial”).101

               The FDA abused its regulatory authority under 21 C.F.R.

§ 10.30(e)(2)(iv) to delay a final response to the 2002 Citizen Petition.

               In the 2016 Denial, the FDA asserted that it appropriately approved

chemical abortion drugs under Subpart H because “[a]s FDA made clear in the

preamble to the final rule for subpart H, the subpart H regulations are intended to

apply to serious or life-threatening conditions, as well as to illnesses or diseases.”102

               The FDA further asserted that the Subpart H premable “also made

clear that a condition need not be serious or life-threatening in all populations or in

all phases to fall within the scope of these regulations.”103

               The FDA asserted that “[u]nwanted pregnancy falls within the scope of

subpart H under § 314.500 because unwanted pregnancy, like a number of illnesses




100 Ex. 29, 2011 Approval Letter at 2–3.
101 Ex. 27, 2016 Petition Denial.

102 Id. at 4 (emphasis added).

103 Id.




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or conditions, can be serious for certain populations or under certain

circumstances.”104

                The FDA also asserted that chemical abortion “provides a meaningful

therapeutic benefit to some patients over surgical abortion” because chemical

abortion “provides an alternative to surgical abortion,” which itself can lead to

complications such as “a severe allergic reaction, a sudden drop in blood pressure

with cardiorespiratory arrest, death, and a longer recovery time following the

procedure.”105

                The FDA also asserted that the clinical trials constituted “substantial

evidence” of effectiveness, while contending that the “FDA regulations do not

require that a study be blinded, randomized, and/or concurrently controlled.”106

                The FDA then asserted that its decision not to require studies of

pediatric patients “was consistent with FDA’s implementation of the regulations in

effect at that time.” The agency also asserted that its 2000 Approval “determined

that there were sufficient data from studies of mifepristone.” Even though the 2000

Approval said the FDA was waiving the requirement for a pediatric assessment, the

2016 Petition Denial stated that the 2000 Approval “should have stated our

conclusion that the pediatric study requirements were waived for pre-menarchal

patients and that the pediatric study requirements were met for post-menarchal




104 Id.
105 Id. at 5.

106 Id. at 9.




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pediatric patients, rather than stating that we were waiving the requirements for

all pediatric groups.”107

               In response to the 2002 Citizen Petition’s argument that the FDA’s

inclusion of misoprostol as part of the mifepristone regimen was illegal because the

sponsor of that drug had not submitted an sNDA, the FDA asserted that “[n]either

the FD&C Act nor FDA regulations require the submission of a supplemental NDA

by the sponsor of the misoprostol NDA for the use of misoprostol as part of the

approved treatment regimen for Mifeprex.”108

               The FDA provided “[e]xamples of approved drug labeling that refer to

the concomitant use of another drug without there being a specific reference to the

combined therapy in the previously approved labeling for the reference drug.”109 But

the FDA did not purport to provide an example of drug labeling where that second

drug was not approved for the use of the new indication.

X.       The FDA’s 2016 Major Changes to the Mifepristone Regimen

               On the same day that the FDA denied the 2002 Citizen Petition—

March 29, 2016—the FDA also approved major changes to the mifepristone regimen

(2016 Major Changes) in response to an sNDA that Danco had submitted to the

FDA on May 28, 2015.110




107 Id. at 29.
108 Id. at 15.

109 Id.

110 Ex. 31, 2016 FDA Letter to Danco Laboratories re: NDA 020687, Supp 20 (Mar.

29, 2016).


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               The FDA acknowledged that the 2000 Approval hinged on necessary

safeguards to protect women and girls from the dangers of chemical abortion drugs.

The FDA’s “Summary Review” of the 2016 Major Changes recalled that “[a]t the

time of the September, 2000 approval, FDA restricted distribution of Mifeprex

under 21 CFR 314.520.” After summarizing the history and provisions of the REMS

for mifepristone, the FDA noted that “[t]he REMS for Mifeprex incorporated the

restrictions under which the drug was originally approved.”111 But the FDA decided

to remove these crucial protections after reconsidering and reopening the 2000

Approval.

               The FDA acknowledged that “these major changes are interrelated,”

demonstrating the agency’s awareness that each change impacted the others.112

               The 2016 Major Changes included the following revisions to the 2000

Approval’s safeguards for women and girls:

               (a) extending the maximum gestational age at which a woman or a girl

                  can abort her baby from 49 days to 70 days;

               (b) altering the mifepristone dosage from 600 mg to 200 mg, the

                  misoprostol dosage from 400 mcg to 800 mcg, and misoprostol

                  administration from oral to buccal (cheek pouch);




111 Ex. 32, FDA, Center for Drug Evaluation and Research, Summary Review of
Application Number: 020687Orig1s020, at 4 (Mar. 29, 2016) (2016 Summary
Review).
112 Id. at 6.




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                (c) eliminating the requirement that administration of misoprostol

                     occur in-clinic;

                (d) broadening the window for misoprostol administration to include a

                     range of 24-48 hours after taking mifepristone, instead of 48 hours

                     afterwards;

                (e) adding a repeat 800 mcg buccal dose of misoprostol in the event of

                     an incomplete chemical abortion;

                (f) removing the requirement for an in-person follow-up examination

                     after an abortion; and

                (g) allowing “healthcare providers” other than physicians to dispense

                     and administer the chemical abortion drugs. 113

                Despite these major changes to the regimen, the FDA eliminated the

requirement for prescribers to report all nonfatal serious adverse events from

chemical abortion drugs. Rather than require future adverse event reports from

abortionists about whether revising the dosages and removing the initial safeguards

harmed women and girls, the FDA simply asserted that “after 15 years of reporting

serious adverse events, the safety profile for Mifeprex is essentially unchanged.”

The FDA at least conceded that “[i]t is important that the Agency be informed of

any deaths with Mifeprex to monitor new safety signals or trends.”114




113   Id. at 6–10.
114   Id. at 27.


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               As with the 2000 Approval, the 2016 Major Changes did not include

prohibitions on the upstream distribution of chemical abortion drugs by mail,

express company, or common carrier as proscribed by federal laws, nor did the FDA

acknowledge and address these laws.

         A.    The FDA’s Evidence for the Safety and Effectiveness of the
               2016 Major Changes

               The FDA lacked substantial evidence that the 2016 Major Changes

would have the effect it purported or was represented to have under the conditions

of use prescribed, recommended, or suggested in the proposed labeling thereof.

               The FDA’s review and approval did not include a single adequate and

well-controlled investigation that evaluated the safety and effectiveness of

mifepristone and misoprostol under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

               Instead, the FDA relied on studies that evaluated only one or just a

few of the major changes that the FDA enacted in 2016; as the FDA acknowledged,

“in some cases data from a given study were relied on to provide evidence to support

multiple changes”115—but no study supported all the changes.

               For example, the FDA relied on a study lead by a former longtime

employee of the Population Council to support extending the maximum gestational

age to 70 days, changing the dosing regimen, and authorizing a repeat dose of




115   Ex. 32, 2016 Summary Review at 6.


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misoprostol if the first dose fails.116 In this study, the abortionists (1) confirmed

gestational age (and presumably screened for ectopic pregnancies) “based on routine

ultrasound practices,” (2) required the study participants to return to the study site

7 to 14 days after using mifepristone “for clinical assessment, which included

ultrasonography,” and (3) “intervened surgically if they deemed it medically

necessary or at the patient’s request.”117 But the labeling that the FDA approved

with the 2016 Major Changes did not require (1) an ultrasound to confirm

gestational age or screen for an ectopic pregnancy, (2) an in-person follow-up exam

using ultrasonography, and (3) an ability of abortionists to personally perform

surgical abortion if necessary. Such variations between the study conditions and the

approved labeling fail to comply with the requirements of the FFDCA.

               Moreover, the studies on which the FDA relied for each individual

major change all contained at least one fatal flaw, including the following

substantial weaknesses: significant loss to follow-up; safeguards not required under

the labeling; small sample size lacking statistical significance; not powered to

evaluate safety; and bias.

               In fact, many of these studies showed that the new chemical abortion

regimen was unsafe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof, or they failed to show that chemical

abortion was safe under such conditions.


116 Ex. 33, Beverly Winikoff et al., Extending Outpatient Medical Abortion Services
Through 70 Days of Gestational Age, 120 Obstetrics & Gynecology 1070 (2012).
117 Id. at 1071.




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         B.    The FDA’s Lack of Research on Pediatric Populations for the
               2016 Major Changes

               The FDA’s 2016 Major Changes continued to allow pregnant girls of

any age to use chemical abortion drugs—despite not knowing whether these

dangerous drugs could have an adverse impact on the health, safety, and welfare of

developing girls.

               The FDA did not require Danco to submit an assessment on the safety

and effectiveness of the drug for the claimed indications in all relevant pediatric

subpopulations, nor did the FDA require Danco to submit an assessment that

supported the dosing and administration for each pediatric subpopulation for which

the drug is safe and effective.118

               The FDA “granted a partial PREA waiver for pre-menarcheal females

ages birth to 12 years because it would be impossible to conduct studies in this

pediatric population, as pregnancy does not exist in premenarchal females.” The

FDA then concluded that Danco “fulfilled the remaining PREA requirement in

postmenarcheal females by submitting published studies of Mifeprex for pregnancy

termination in postmenarcheal females less than 17 years old.” The FDA cited three

published studies in support of this conclusion.119

               The primary study on which the FDA relied, Efficacy and safety of

medical abortion using mifepristone and buccal misoprostol through 63 days, by

Mary Gatter and Deborah Nucatola of Planned Parenthood of Los Angeles and



118   Ex. 32, 2016 Summary Review at 18–20.
119   Id. at 18–19.


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Kelly Cleland of Princeton University’s Office of Population Research, evaluated the

proposed dosing regimen followed by home administration of misoprostol through

63 days’ gestation. The study also included postmenarcheal girls in the study

population, from which the FDA extrapolated its conclusion.120

               For the pediatric population under 18 years of age, the Planned

Parenthood study stated that it had a loss to follow-up of twenty percent (20%).

Therefore, the authors lacked any knowledge of whether these girls died, were

hospitalized, or experienced other serious adverse events.121 The authors also

recognized that “[l]oss to follow-up was significantly higher among the youngest age

group.”122

               The FDA minimized this significant data gap by asserting that “loss to

follow-up was slightly higher in those less than 18 years old.”123 Despite this

significant data gap, the FDA went on to conclude that “age did not adversely

impact efficacy outcomes.”124

               Furthermore, in this study, Planned Parenthood also performed an

ultrasound examination on all females prior to the chemical abortions, in addition

to giving them “routine antibiotic coverage” at the beginning of the chemical




120 Id. at 19 (citing Ex. 34, Mary Gatter et al., Efficacy and safety of medical
abortion using mifepristone and buccal misoprostol through 63 days, 91
Contraception 269 (2015).
121 Ex. 34, Gatter at 4–5.

122 Id. (emphasis added).

123 Ex. 32, 2016 Summary Review at 19 (emphasis added).

124 Id.




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abortion regimen.125 But the FDA did not require any of these safeguards for women

and girls under the 2016 Major Changes.

               The FDA did not address or discount any potential conflict of interest

or bias in the study—despite the study disclosing that Planned Parenthood

Federation of America provided funding for the study. Nor did the FDA address or

discount any potential conflict of interest or bias in the study even though its

authors, Mary Gatter126 and Deborah Nucatola,127 had significant incentives to

increase their income and Planned Parenthood’s profits through abortion-related

actions outside of performing surgical abortion.128

               A second study that the FDA cited in support of its PREA conclusion

was based on a nationwide registry of induced abortions and hospital register data

in Finland.129 For the adolescent cohort who had chemical abortions, the study



125 Ex. 34, Gatter at 2.
126 See, e.g., The Center for Medical Progress, Second Planned Parenthood Senior
Executive Haggles Over Body Parts Prices, Changes Abortion Methods, YouTube
(July 21, 2015), https://www.youtube.com/watch?v=MjCs_gvImyw (video capturing
Gatter saying she “want[s] a Lamborghini” when discussing the price that she
would charge for selling intact aborted fetal body parts).
127 See, e.g., The Center for Medical Progress, Planned Parenthood Uses Partial-

Birth Abortions to Sell Baby Parts, YouTube (July 14, 2015),
https://www.youtube.com/watch?v=jjxwVuozMnU (video capturing Nucatola stating
that Planned Parenthood affiliates would be “happy” selling intact aborted fetal
body parts for a “reasonable” price that is “a little better than break even”).
128 The Fifth Circuit has recognized the overall authenticity and veracity of the

undercover videos capturing Planned Parenthood’s desire to profit from the
trafficking of aborted fetal body parts. See Planned Parenthood of Greater Tex.
Family Planning & Preventative Health Servs., Inc. v. Smith, 913 F.3d 551, 559 n. 6
(5th Cir. 2019), on reh’g en banc sub nom. Planned Parenthood of Greater Tex. Fam.
Plan. & Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347 (5th Cir. 2020).
129 Ex. 32 2016 Summary Review at 19–20 (citing Ex. 18, Niinimaki, supra note 14).




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found that 12.8% experienced hemorrhaging, 7.0% had incomplete abortions, and

11.0% needed surgical evacuation of “retained products of conception.”130 Because

these statistics were similar to those of the adult cohort, the FDA found these

statistics “reassuring” to support the safety profile of chemical abortion drugs for a

pediatric population.131

               The third and final study that the FDA cited in support of its PREA

conclusion was a study of 28 adolescents, ages 14 to 17 years old, with pregnancies

under 57 days’ gestation.132 Even though the authors of this study cautioned that a

larger study was needed to make any generalizable conclusions for pediatric

populations, the FDA likewise found this small study “reassuring.”133

               The FDA did not require any studies on the long-term effects of

chemical abortion drugs in pediatric populations with developing reproductive

systems.

XI.      2019 Citizen Petition

               In response to the 2016 Major Changes, on March 29, 2019, Plaintiffs

AAPLOG and American College of Pediatricians (2019 Petitioners) submitted to the

FDA a citizen petition (2019 Citizen Petition) pursuant to 21 C.F.R. §§ 10.30 and

10.35; 21 C.F.R. Part 314, Subpart H (§§ 314.500–314.560); and Section 505 of the

FFDCA (21 U.S.C. § 355). The 2019 Petitioners asked the FDA to (1) “restore and



130 Ex. 18, Niinimaki, supra note 14 at 3–4.
131 Ex. 32, 2016 Summary Review at 20.

132 Id. at 19.

133 Id. at 20.




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strengthen elements of the Mifeprex regimen and prescriber requirements approved

in 2000” and, in the event that the FDA denied that request, (2) “retain the

Mifeprex Risk Evaluation and Mitigation Strategy (REMS), and continue limiting

the dispensing of Mifeprex to patients in clinics, medical offices, and hospitals, by or

under the supervision of a certified prescribers.”134

                The 2019 Citizen Petition asked the FDA to take the following actions

to restore and strengthen elements of the chemical abortion drug regimen and

prescriber requirements approved in 2000 to protect the health, safety, and welfare

of women and girls:

            •   Reduce the maximum gestational age from 70 days to 49 days;

            •   Limit the ability to prescribe and dispense chemical abortion drugs to

                qualified, licensed physicians—not other “healthcare providers”;

            •   Mandate certified abortionists to be physically present when

                dispensing chemical abortion drugs;

            •   Require that the prescriber perform an ultrasound to assess

                gestational age, identify ectopic pregnancies, ensure compliance with

                FDA restrictions, and adequately inform the woman of gestational age-

                specific risks, which rise with increasing gestational age;

            •   Restore the requirement for in-person administration of misoprostol;




134   Ex. 35, 2019 Citizen Petition of AAPLOG to FDA (Mar. 29, 2019).


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            •   Restore the requirement for an in-person follow-up visit to confirm

                abortion and rule out life-threatening infection through clinical

                examination or ultrasonographic scan;

            •   Restore the 2000 label language that stated that chemical abortion

                drugs are contraindicated if a woman lacks adequate access to

                emergency medical care; and

            •   Restore the prescriber reporting requirements for all serious adverse

                events, including any deaths, hospitalizations, blood transfusions,

                emergency room visits, failures requiring surgical completion, ongoing

                pregnancy, or other major complications following the chemical

                abortion regimen.135

                The 2019 Petitioners also asked the FDA to require a formal study of

outcomes for at-risk populations, including the pediatric female population, patients

with repeat chemical abortions, patients who have limited access to emergency

room services, and patients who self-administer misoprostol.136

                The 2019 Citizen Petition explained that “[t]he developmental stage of

puberty involves a complex interplay of both progesterone and estrogen effects on

the developing female reproductive system.” Therefore, “[t]he use, and especially

the potential multiple use, of Mifeprex, which is a powerful progesterone blocker, is




135   Id.
136   Id. at 13–14.


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likely to significantly impact the developing reproductive system of the adolescent

female.”137

               If the FDA refused to restore and strengthen the chemical abortion

regimen and prescriber requirements approved in 2000, the 2019 Citizen Petition

requested that the FDA retain the mifepristone REMS and continue limiting the

dispensing of mifepristone to clinics, medical offices, and hospitals, by or under the

supervision of a certified prescriber. In other words, the FDA should do no further

harm to the few remaining safeguards for women and girls who undergo the

chemical abortion drug regimen.138

               In particular, the 2019 Petitioners explained that eliminating or

relaxing the REMS to facilitate internet or telephone prescriptions would be

dangerous to women and girls.139 The 2019 Citizen Petition also raised concerns

about dispensing from a pharmacy instead of a clinical facility.140

               The 2019 Citizen Petition provided the FDA with detailed analysis and

data to support these requests.




137 Id.
138 Id. at 14–25.

139 Id. at 18–20.

140 Id. at 20–23.




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XII.     The FDA’s Approval of a Generic Version of Mifeprex and a Single,
         Shared System REMS

               On April 11, 2019, the FDA approved GenBioPro, Inc.’s141 generic

version of Mifeprex, “Mifepristone Tablets, 200 mg” (2019 ANDA Approval). The

FDA determined GenBioPro’s Mifepristone Tablets, 200 mg, “to be bioequivalent

and, therefore, therapeutically equivalent to the reference listed drug (RLD),

Mifeprex Tablets, 200 mg, of Danco Laboratories, LLC.” GenBioPro’s generic

version of mifepristone has the same labeling and REMS as does Danco’s

Mifeprex.142

               On the same day, the FDA approved modifications to the existing

REMS for chemical abortion drugs to establish a single, shared system REMS for

mifepristone products for the “medical termination of intrauterine pregnancy,” thus

allowing the FDA to have a uniform REMS for the chemical abortion drugs that two

companies were now marketing. The FDA did not make any substantive

modifications to the REMS approved in 2016.143




141 GenBioPro, Inc. is located at 3651 Lindell Road, Suite D1041, Las Vegas,
Nevada. https://www.dnb.com/business-directory/company-
profiles.genbiopro_inc.f925af03300887aacd053afe151fefb2.html.
142 Ex. 36, 2019 FDA ANDA Approval Letter to GenBioPro, Inc. (Apr. 11, 2019),

https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2019/091178Orig1s000ltr
.pdf.
143 Ex. 37, 2019 FDA Supplemental Approval Letter to Danco Laboratories, LLC

(Apr. 11, 2019), Supplement Approval, https://www.accessdata.fda.gov/drugsatfda_
docs/appletter/2019/020687Orig1s022ltr.pdf.


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XIII. 2020 ACOG-SMFM Letter to the FDA

               On April 20, 2020, the American College of Obstetricians and

Gynecologists (ACOG) and the Society for Maternal-Fetal Medicine (SMFM) sent a

joint letter (2020 ACOG-SMFM Letter), rather than a citizen petition, to the FDA

asking the agency to remove in-person dispensing requirement for mifepristone

during the COVID-19 pandemic and instead allow dispensing by mail or mail-order

pharmacy.144

               Following the letter, in May 2020, ACOG and others filed suit to enjoin

the FDA’s in-person dispensing requirement for mifepristone during the pandemic.

Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md.

2020).

               The district court granted a nationwide preliminary injunction and

lifted the in-person dispensing requirement for the pandemic. Id. at 233, order

clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020). The Fourth Circuit refused to

stay the injunction. Court Order Denying Motion for Stay Pending Appeal, Am.

Coll. of Obstetricians & Gynecologists v. FDA, Nos. 20-1824 (4th Cir. Aug. 13, 2020),

ECF No. 30.

               The FDA then filed for an emergency stay of the injunction with the

U.S. Supreme Court. On January 12, 2021, the U.S. Supreme Court granted the

FDA an emergency stay of the district court’s injunction.145



144 Ex. 38, 2020 Letter from ACOG and SMFM, to FDA about Mifepristone REMS
(Apr. 20, 2020) (2020 ACOG-SMFM Letter).
145 FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (2021).




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XIV. 2021 FDA Letter in Response to 2020 ACOG-SMFM Letter

               President Joe Biden took office just eight days later. Acting under new

management, the FDA responded to the 2020 ACOG-SMFM letter on April 12,

2021, and stated that the agency “intends to exercise enforcement discretion”

during the COVID pandemic with respect to the in-person dispensing requirement

of the REMS for mifepristone (2021 Non-Enforcement Decision).146

               The FDA’s 2021 Non-Enforcement Decision relied, in part, on the

supposed lack of reported adverse events caused by chemical abortion drugs

occurring between January 2020 and January 2021—despite the agency’s

elimination of non-fatal reporting requirements for abortionists in 2016.

Nevertheless, in 2021, the FDA still “found that the small number of adverse events

reported to FDA during the COVID-19 public health emergency (PHE) provide no

indication that any program deviation or noncompliance with the Mifepristone

REMS Program contributed to the reported adverse events.”147

               The FDA’s 2021 Non-Enforcement Decision neither acknowledged nor

addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, or common carrier—despite explicitly recognizing that this

action would allow “dispensing of mifepristone through the mail . . . or through a

mail-order pharmacy.”148




146 Ex. 39, 2021 FDA Letter to ACOG and SMFM About Mifepristone REMS, at 2
(Apr. 12, 2021) (2021 Non-Enforcement Decision).
147 Id.

148 Id.




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XV.      2021 “Minor” Changes

               On May 14, 2021, the FDA approved “minor” changes to the Patient

Agreement Form to use “gender neutral language,” replacing the pronouns “she”

and “her” with “the patient.” The FDA made similar revisions to the REMS

document to reflect the removal of the gender-specific pronouns in the Patient

Agreement Form.149

               Despite these changes, the FDA did not require Danco to submit

studies showing the safety and effectiveness of chemical abortion on women and

girls who may be taking puberty blockers, testosterone injections, or other

hormones in addition to the chemical abortion drugs.

               Currently, the May 14, 2021, “minor” changes are the last updates to

the REMS for chemical abortion drugs that the FDA has approved.150 As discussed

below, the FDA is requiring additional changes to the REMS.

XVI. The FDA’s December 2021 Announcement of Further Reductions in
     Safeguards

               On December 16, 2021, Defendant Cavazonni, Director of the FDA’s

Center for Drug Evaluation and Research, wrote a letter to Graham Chelius, M.D.,

of the Society of Family Planning and the California Academy of Family Physicians




149 Ex. 40, FDA Supplemental Approval Letter to Danco Laboratories, LLC (May 14,
2021), https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2021/020687Orig1
s024ltr.pdf.
150 Ex. 41, 2021 Updated REMS for Mifepristone Tablets, 200mg (May 14, 2021),

https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.pag
e&REMS=390.


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to inform him that the FDA had completed its review of the REMS for

mifepristone.151

               Although the FDA “determined that the Mifepristone REMS Program

continues to be necessary to ensure that the benefits of the drug outweigh the

risks,” the agency “determined that it must be modified to minimize the burden on

the health care delivery system of complying with the REMS and to ensure that the

benefits of the drug outweigh the risks.”152

               The letter identified specific new modifications to the REMS:

“(1) removing the requirement that mifepristone be dispensed only in certain

healthcare settings, specifically clinics, medical offices, and hospitals (i.e., the ‘in-

person dispensing requirement’); and (2) adding a requirement that pharmacies

that dispense the drug be specially certified,” signaling that the FDA will soon allow

pharmacies to dispense chemical abortion drugs.153

               Defendant Cavazzoni also noted that the FDA had answered the

“related” 2019 Citizen Petition and would post the agency’s response in the public

docket.154

XVII. The FDA’s Denial and Granting of the 2019 Citizen Petition

               Accordingly, on December 16, 2021—the same day that Defendant

Cavazzoni sent the letter to Dr. Chelius and over 2.5 years after receiving the 2019


151 Ex. 42, 2021 FDA Center for Drug Evaluation & Research Director Patrizia
Cavazzoni Letter to Dr. Graham Chelius (Dec. 16, 2021).
152 Id.

153 Id.

154 Id.




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Citizen Petition—the FDA denied in part and granted in part the 2019 Citizen

Petition (2021 FDA Response).155

               The FDA granted the 2019 Citizen Petition only to the extent that the

agency agreed that a REMS is necessary to ensure that the “benefits” of

mifepristone in a regimen with misoprostol outweigh the risks. But the FDA

retained only the Prescriber Agreement Form and the Patient Agreement Form as

the remaining elements of the REMS.156

               Aside from retaining these two remaining requirements, the FDA

denied the 2019 Citizen Petition’s requests (1) to restore and strengthen the

mifepristone and prescriber requirements approved in 2000 and (2) to continue

limiting the dispensing of mifepristone to women in clinics, medical offices, and

hospitals, by or under the supervision of a certified prescriber.157

               Before addressing the merits of the 2019 Citizen Petition, the FDA

discussed how chemical abortion drugs came to be regulated, starting with the 2000

Approval under Subpart H and the associated restrictions “needed to assure the

safe use of the drug product.” The FDA noted that it restricted the distribution of

chemical abortion drugs under Subpart H, 21 C.F.R. § 314.520. The agency also




155 Ex. 43, 2021 FDA Letter to AAPLOG and Am. Coll. of Pediatricians denying in
part and granting in part 2016 Citizen Petition, Docket No. FDA-2019-P-1534 (Dec.
16, 2021) (2021 FDA Response).
156 Id. at 21–23.

157 Ex. 43, 2021 FDA Response.




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explained how and why chemical abortion drugs have an associated REMS to

“assure safe use” due to the drug’s approval under Subpart H.158

               After providing this regulatory background, the FDA defended its

decision in the 2016 Major Changes to reconsider and revise the safeguards codified

in the original 2000 Approval and the subsequent REMS. The agency also

disregarded the analyses and data set forth in the 2019 Citizen Petition.

               The FDA repeated its previous justifications not to require studies in

the pertinent pediatric population in the underlying 2000 Approval and the 2016

Major Changes, and it again asserted—without evidence—that “the safety and

efficacy were expected to be the same for postpubertal (i.e., post-menarchal)

adolescents.”159

               In response to the 2019 Citizen Petition’s request to preserve the few

safeguards after the 2016 Major Changes, the FDA stated that the REMS for

mifepristone “must be modified to remove the requirement that mifepristone be

dispensed only in certain healthcare settings, specifically clinics, medical offices,

and hospitals, because this requirement is no longer necessary to ensure that the

benefits of the drug outweigh the risks.”160

               In support of its claim that in-person dispensing is unnecessary, the

FDA relied on the “small” number of adverse events voluntarily reported in the

FDA Adverse Event Reporting System (FAERS) database to justify the elimination


158 Id. at 2–3.
159 Id. at 38.
160
    Id. at 25


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of this safeguard, even though the FDA had years ago removed the requirement for

abortionists to report nonfatal adverse events.161

               The FDA relied on the FAERS database despite conceding these facts:

“FAERS data does have limitations”; the “FDA does not receive reports for every

adverse event”; and thus “FAERS data cannot be used to calculate the incidence of

an adverse event . . . in the U.S.”162

               The FDA likewise admitted that FAERS “is woefully inadequate to

determine the post-marketing safety of mifepristone due to its inability to

adequately assess the frequency or severity of adverse events” and the adverse

events reported to the FDA “represent a fraction of the actual adverse events

occurring in American women.”163 The FDA also agreed that there are reporting

“discrepancies [that] render the FAERS inadequate to evaluate the safety of

mifepristone abortions.”164

               The complicated FAERS electronic submission process further hinders

the reporting of adverse events and exacerbates the unreliability of the number of




161 Id. at 25–36.
162 Ex. 44, Questions and Answers on FDA’s Adverse Event Reporting System
(FAERS), https://www.fda.gov/drugs/surveillance/questions-and-answers-fdas-
adverse-event-reporting-system-faers.
163 Ex. 45, Kathi A. Aultman et al., Deaths and Severe Adverse Events after the use

of Mifepristone as an Abortifacient from September 2000 to February 2019, 26 Law
& Medicine 3, 25–26 (2021).
164 Ex. 46, Christiana A. Cirucci et al., Mifepristone Adverse Events Identified by

Planned Parenthood in 2009 and 2010 Compared to Those in the FDA Adverse
Event Reporting System and Those Obtained Through the Freedom of Information
Act, 8 Health Servs. Rsch & managerial Epidemiology 1 (2021).


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adverse event reports. Doctors or other interested individuals seeking to submit an

adverse event report must navigate a confusing webpage.165 Recognizing this

difficulty in submitting adverse event reports, the FDA provides a 48-page manual

as guidance on the technical specifications for submitting an adverse event form.166

               The FDA also relied on some published studies in making its 2021

decision to deny the 2019 Citizen Petition. The agency, however, noted that “the

ability to generalize the results of these studies to the United States population is

hampered,” “the usefulness of the studies is limited in some instances by small

sample sizes and lack of follow-up information on outcomes with regard to both

safety and efficacy,” and the FDA “did not find any large clinical studies that were

designed to collect safety outcomes in healthcare systems similar to the United

States.”167

               Despite these limitations, the FDA concluded that mifepristone would

“remain safe and efficacy [would] be maintained” if it removed the in-person

dispensing requirement from the REMS program.168




165 Ex. 47, FDA, FDA Adverse Event Reporting System (FAERS) Electronic
Submissions, https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-
reporting-system-faers/fda-adverse-event-reporting-system-faers-electronic-
submissions.
166 Ex. 48, Specifications for Preparing and Submitting Electronic ICSRs and ICSR

Attachments (April 2021), https://www.fda.gov/media/132096/download.
167 Ex. 43, 2021 FDA Response at 28.

168 Id.




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              The FDA’s 2021 Petition Response neither acknowledged nor

addressed the federal laws expressly prohibiting the distribution of mifepristone by

mail, express company, or common carrier.

              In summary, the following chart illustrates the changes to the

mifepristone regimen over the years:

      Regulation               2000 Approval               2016 Major           2021 Non-
                                                            Changes            Enforcement
                                                                               Decision and
                                                                              Petition Denial
 Maximum Gestational              49 days                    70 days              70 days
 Age
 Dosage                    •    600 mg of            •    200 mg of          • 200 mg of
                                mifepristone              mifepristone         mifepristone
                           •    400 mcg of           •    800 mcg of         • 800 mcg of
                                misoprostol               misoprostol          misoprostol
 Route of misoprostol             Vaginal                    Buccal                Buccal
 administration
 Timing of misoprostol         48 hours after            24-48 hours after    24-48 hours after
 administration                 mifepristone               mifepristone         mifepristone
 Repeat dose of 800                 No                         Yes                  Yes
 mcg misoprostol
 Dispensed only by or
 under the supervision              Yes                         No                   No
 of a physician
 In-person
 administration of                  Yes                         No                   No
 drug regimen
 In-person dispensing               Yes                        Yes                   No
 of drug regimen
 Follow-up in-person
 evaluation post-                   Yes                         No                   No
 abortion
 Requiring prescribers              Yes                         No                   No
 to report all non-fatal
 serious adverse events




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XVIII.         Injuries to Plaintiffs and Their Patients

               The Alliance for Hippocratic Medicine, the AAPLOG, the American

College of Pediatricians, and the Christian Medical & Dental Associations have

members in Texas and around the country who have treated and will continue to

treat women and girls who have suffered complications from the FDA’s unlawful

approval of chemical abortion drugs and subsequent elimination of the safeguards

necessary to protect women and girls.

               These medical associations sue on their own behalf and on behalf of

their members and their members’ patients—all of whom have been harmed and

will continue to be harmed by the FDA’s actions.

               Dr. Jester practices medicine in Texas and has treated a woman who

suffered complications from the FDA’s unlawful approval of chemical abortion drugs

and elimination of the safeguards necessary to protect women and girls. Dr. Frost-

Clark, Dr. Johnson, and Dr. Delgado have also treated women and girls who have

suffered complications from the FDA’s unlawful approval of chemical abortion drugs

and elimination of the safeguards necessary to protect women and girls.

               These doctors sue on behalf of themselves and their patients—both of

whom have been harmed and will continue to be harmed by the FDA’s actions.169




169June Med. Servs. LLC v. Russo, 140 S. Ct. 2103, 2118–20 (2020) (holding that
doctors and medical providers had third-party standing on behalf of their patients
because the Court has “long permitted” them “to invoke the rights of their actual or
potential patients”).


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               The sworn declarations attached to the Complaint detail how each

Plaintiff has been, is, and/or will be personally and professionally injured by the

FDA’s actions. As many of their injuries overlap, the injuries discussed below cite

the specific Plaintiff declaration(s) associated with those injuries. The Complaint

incorporates by reference each of the allegations in these declarations.

         A.    Injuries to Patients

               The FDA’s 2000 Approval legalized an unsafe drug regimen.170

               Chemical abortion drugs cause women and girls to suffer many intense

side effects, including cramping, heavy bleeding, and severe pain.171

               Women and girls who take chemical abortion drugs experience

significantly more complications than those who have surgical abortions.172

               The FDA’s 2000 Approval has caused women and girls to suffer

complications from chemical abortion.173




170 See Compl. ¶¶ 141–158.
171 Ex. 4, Harrison Decl. ¶ 23; Ex. 9, Wozniak Decl. ¶ 17; Ex. 8, Skop Decl. ¶ 13;

Ex. 49, Johnson Decl. ¶ 8; Ex. 50, Frost-Clark Decl. ¶ 9; Ex. 51, Delgado Decl. ¶ 11.
172 Ex. 4, Harrison Decl. ¶ 22; Ex. 9, Wozniak Decl. ¶ 15; Ex. 8, Skop Decl. ¶ 19;

Ex. 10, Foley Decl. ¶ 8; Ex. 51, Delgado Decl. ¶ 11.
173 Ex. 4, Harrison Decl. ¶ 24; Ex. 7, Francis Decl. ¶ 10; Ex. 9, Wozniak Decl. ¶ 8;

Ex. 8, Skop Decl. ¶¶11–13, 16–19, 22–23; Ex. 52, Jester Decl. ¶ 16; Ex. 49, Johnson
Decl. ¶¶ 9–11; Ex. 10, Foley Decl. ¶ 3; Ex. 50, Frost-Clark Decl. ¶ 7; Ex. 3,
Dickerson Decl. ¶ 11.


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               Since the 2016 Major Changes, the rate of women and girls who have

suffered complications from chemical abortion and required critical medical

treatment has increased and will continue to increase.174

               The FDA’s decision to expand the gestational age for approved

mifepristone use to 70 days (10 weeks) harms women.175

               This expansion of the permissible gestational age is especially

dangerous for women and girls when combined with the FDA’s elimination of the

in-person dispensing and follow-up visit requirements.176

               The FDA’s failure to require an ultrasound, its subsequent elimination

of in-person drug administration, physician supervision, and patient follow-up, and,

finally, its removal of the requirement of in-person dispensing in specified health

care settings, exposes women and girls to increased risk of suffering complications

from chemical abortion and requiring further medical attention following the drug

regimen.177

               Because the FDA does not require it, many abortionists do not remain

physically near women and girls during the most painful and excruciating periods of




174 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 18;
Ex. 52, Jester Decl. ¶ 23; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 10; Ex. 51,
Delgado Decl. ¶¶ 16, 18; Ex. 3, Dickerson Decl. ¶ 11.
175 Ex. 9, Wozniak Decl. ¶ 10; Ex. 52, Jester Decl. ¶ 17.

176 Ex. 52, Jester Decl. ¶ 13.

177 Ex. 4, Harrison Decl. ¶¶ 24–31; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak

Decl. ¶¶ 8–10, 14; Ex. 8, Skop Decl. ¶¶ 20, 25–29; Ex. 5, Barrows Decl. ¶¶ 15–18;
Ex. 52, Jester Decl. ¶¶ 15–18, 22–23, 25; Ex. 10, Foley Decl. ¶ 9; Ex. 50, Frost-Clark
Decl. ¶¶ 12–15.


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the chemical abortion drug regimen, often sending them home with the drugs.

Given their lack of admitting privileges and treatment capabilities, abortionists

usually instruct women to go to the emergency department of the closest hospital

for treatment of any severe adverse events.178

               The FDA has eliminated all procedural safeguards that would rule out

ectopic pregnancies, verify gestational age, identify any contraindications to

prescribing mifepristone, or identify potential complications like sepsis and

hemorrhage, remaining fetal parts, and others until the patient is at a critical time

or it is too late to help the patient. As a result, women and girls often suffer

unexpected episodes of heavy bleeding or severe pain and must rush to the

emergency department of the nearest hospital.179

               As more women and girls require treatment in emergency

departments, the other patients of the treating doctors are adversely affected. With

the increase in women and girls suffering emergency complications from chemical

abortion or seeking to reverse the effects of the chemical abortion regimen, there is

a direct correlation in the decrease in time, attention, and resources that emergency

department doctors have to treat their other patients.180




178 Ex. 4, Harrison Decl. ¶ 19; Ex. 10, Foley Decl. ¶ 11.
179 Ex. 8, Skop Decl. ¶¶ 13, 17–18, 22–23, 28–29; Ex. 5, Barrows Decl. ¶¶ 17–18;

Ex. 52, Jester Decl. ¶¶ 13, 15–16, 23; Ex. 10, Foley Decl. ¶ 9; Ex. 50, Frost-Clark
Decl. ¶¶ 12–15.
180 Ex. 9, Wozniak Decl. ¶¶ 17–18, 27; Ex. 7, Francis Decl. ¶ 12; Ex. 49, Johnson

Decl. ¶¶ 14, 16; Ex. 8, Skop Decl. ¶ 32; Ex. 10, Foley Decl. ¶ 10; Ex. 51, Delgado
Decl. ¶ 18; Ex. 3, Dickerson Decl. ¶ 14.


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               Abortionists commonly violate the remaining safeguards and the FDA-

approved label for chemical abortion drugs by giving the drugs to women who are

contraindicated for chemical abortion (i.e., could experience deadly adverse events if

they take the drugs) and then subsequently harmed by these drugs, demonstrating

that the FDA’s remaining safeguards for women and girls are ineffective in

protecting them.181

               The FDA’s decision not to require abortionists to report all adverse

events for chemical abortion drugs harms women and girls because it creates an

inaccurate and false safety profile for the use of chemical abortion drugs.182

               Due to inadequate adverse event reporting, the true rates of risks

associated with chemical abortion drugs remain undercounted and therefore are

unknown. Because abortion providers cannot know the accurate risk levels that

their patients face when ingesting these drugs, these providers cannot properly

inform their patients about the risks associated with chemical abortion. This

prevents women and girls from giving informed consent to these providers.183

               Many women and girls do not fully understand the nature of chemical

abortion drugs and the risks that these drugs present to them.184




181 Ex. 9, Wozniak Decl. ¶ 24.
182 Ex. 4, Harrison Decl. ¶ 35; Ex. 52, Jester Decl. ¶ 24.
183 Ex. 4, Harrison Decl. ¶¶ 36–38; Ex. 9, Wozniak Decl. ¶¶ 19–20; Ex. 49, Johnson

Decl. ¶ 17.
184 Ex. 4, Harrison Decl. ¶ 31; Ex. 8, Skop Decl. ¶¶ 13, 27; Ex. 52, Jester Decl. ¶ 24;

Ex. 49, Johnson Decl. ¶ 12; Ex. 10, Foley Decl. ¶¶ 12, 15; Ex. 51, Delgado Decl. ¶ 15.


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               Abortionists who prescribe or dispense chemical abortion drugs are not

providing women with an adequate, accurate assessment of the known risks and

effects associated with chemical abortion. Therefore, women and girls are unable to

give informed consent to the drugs they are receiving, and thus they are not

consenting at all to taking the chemical abortion drugs—resulting in physical and

mental injuries.185

               Women and girls often suffer distress and regret after undergoing

chemical abortion, sometimes seeking to reverse the effects of mifepristone.186

               A woman or girl can experience these emotions and feelings upon

viewing the body of her lifeless baby after taking chemical abortion drugs.187

               Even with medical oversight, abortionists can sometimes coerce women

into taking chemical abortion drugs—without their true informed consent.188

               The FDA’s actions to eliminate in-person dispensing and

administration also harm women because the lack of oversight will likely

exacerbate human trafficking. Many trafficked women experience abortions and

doctors potentially serve as an important resource to intervene on behalf of these

trafficked women and girls.189



185 Ex. 4, Harrison Decl. ¶ 37; Ex. 8, Skop Decl. ¶¶ 14, 16, 27; Ex. 49, Johnson
Decl. ¶ 12; Ex. 10, Foley Decl. ¶ 15; Ex. 50, Frost-Clark Decl. ¶ 20; Ex. 51, Delgado
Decl. ¶ 15.
186 Ex. 8, Skop Decl. ¶¶ 15–16; Ex. 10, Foley Decl. ¶¶ 12, 16; Ex. 51, Delgado

Decl. ¶ 14.
187 Ex. 8, Skop Decl. ¶ 15.

188 Ex. 51, Delgado Decl. ¶ 15.

189 Ex. 8, Skop Decl. ¶ 31.




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               Women and girls will continue to suffer complications from chemical

abortion drugs.190

         B.    Injuries to Plaintiff Doctors

               Because the FDA’s 2000 Approval of chemical abortion drugs legalized

an unsafe drug regimen, women and girls have suffered many intense side effects

and increasing complications—requiring crucial medical attention and treatment.191

               The FDA’s 2000 Approval has caused medical professionals, including

Plaintiff doctors and the members of Plaintiff medical associations, to treat women

and girls who have suffered complications from mifepristone and misoprostol.192

               Since the 2016 Major Changes and the associated elimination of

necessary safeguards for women and girls, medical professionals, including Plaintiff

doctors and the members of Plaintiff medical associations, have seen and will

continue to see an additional increase in the rate of women and girls who have

suffered complications from chemical abortion—complications requiring critical

treatment from these doctors.193


190 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 29;
Ex. 8, Skop Decl. ¶ 21; Ex. 52, Jester Decl. ¶ 20; Ex. 49, Johnson Decl. ¶ 18.
191 Ex. 4, Harrison Decl. ¶ 23; Ex. 9, Wozniak Decl. ¶¶ 15, 17; Ex. 8, Skop

Decl. ¶¶ 13, 18; 23; Ex. 5, Barrows Decl. ¶ 17; Ex. 49, Johnson Decl. ¶ 8; Ex. 50,
Frost-Clark Decl. ¶ 9; Ex. 51, Delgado Decl. ¶ 11; Ex. 10, Foley Decl. ¶ 8; Ex. 3,
Dickerson Decl. ¶ 11.
192 Ex. 4, Harrison Decl. ¶ 24; Ex. 7, Francis Decl. ¶ 10; Ex. 8, Skop Decl. ¶¶ 12–21;

Ex. 52, Jester Decl. ¶ 17; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 3; Ex. 50,
Frost-Clark Decl. ¶ 7; Ex. 3, Dickerson Decl. ¶¶ 11, 13.
193 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 18;

Ex. 52, Jester Decl. ¶¶ 18, 23, 25; Ex. 49, Johnson Decl. ¶ 9; Ex. 10, Foley Decl. ¶ 9;
Ex. 50, Frost-Clark Decl. ¶¶ 12–15; Ex. 51, Delgado Decl. ¶¶ 13, 16; Ex. 3,
Dickerson Decl. ¶ 12.


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               The FDA’s approved regimen for chemical abortion drugs harms not

only women and girls but also medical professionals, including Plaintiff doctors and

the members of Plaintiff medical associations, who respond and treat these

complications and other effects from chemical abortion drugs.194

               The FDA’s elimination of most of the safeguards protecting women and

girls from the dangers of mifepristone has made chemical abortion more widely

available and with less medical supervision—causing more women and girls to

experience complications from chemical abortion and, therefore, increasing

emergency situations. An increase in complications only compounds the harm to

doctors, including Plaintiff doctors and the members of Plaintiff medical

associations.195

                When women and girls suffer complications from chemical abortion

drugs, these adverse events can overwhelm the medical system and consume crucial

limited medical resources, including blood for transfusions, physician time and

attention, space in hospitals and medical centers, and other equipment and




194 Ex. 4, Harrison Decl. ¶¶ 26–30; Ex. 7, Francis Decl. ¶¶ 12–13; Ex. 9, Wozniak
Decl. ¶ 17; Ex. 8, Skop Decl. ¶¶ 25, 32; Ex. 52, Jester Decl. ¶¶ 17, 18; Ex. 49,
Johnson Decl. ¶ 14; Ex. 51, Delgado Decl. ¶ 13; Ex. 3, Dickerson Decl. ¶ 12.
195 Ex. 52, Jester Decl. ¶¶ 20, 25; Ex. 50, Frost-Clark Decl. ¶ 8; Ex. 4, Harrison

Decl. ¶¶ 26–30, 28; Ex. 7, Francis Decl. ¶ 14; Ex. 8, Skop Decl. ¶¶ 20, 28, 32; Ex. 49,
Johnson Decl. ¶ 14; Ex. 10, Foley Decl. ¶ 10.


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medicines.196 This need for blood transfusions exacerbates the current critical

national blood shortage.197

                The increased occurrence of complications related to chemical abortion

drugs multiplies the workload of health care providers, including Plaintiff doctors

and the members of Plaintiff medical associations, in some cases by astronomical

amounts. This is especially true in maternity care “deserts” (i.e., geographic areas

where there are not a large number of OB/Gyn providers for patients).198

               When there is a complication from chemical abortion drugs, the typical

care doctors provide patients moves from simple patient management to

complicated patient management. Accordingly, a patient who suffers complications

from chemical abortion drugs requires significantly more time and attention from

providers than most patients require.199

               For example, Plaintiff Dr. Jester needed to treat a woman who had

traveled from Texas to New Mexico to obtain chemical abortion drugs from Planned

Parenthood. The woman returned to Texas, suffered from two weeks of moderate to

heavy bleeding, and then developed a uterine infection. At the hospital, Dr. Jester

provided her with intravenous antibiotics and performed a dilation and curettage



196 Ex. 4, Harrison Decl. ¶ 28; Ex. 7, Francis Decl. ¶ 17; Ex. 9, Wozniak Decl. ¶ 17.
197 Ex. 4, Harrison Decl. ¶ 19; see also Current National Blood Supply,
https://americasblood.org/for-donors/americas-blood-supply/ (last visited Nov. 16,
2022); Catherine Garcia, The urgent American blood shortage, explained, The Week
(Oct. 26, 2022), https://theweek.com/health-and-wellness/1017643/the-urgent-
american-blood-shortage-explained.
198 Ex. 4, Harrison Decl. ¶ 29; Ex. 7, Francis Decl. ¶ 14; Ex. 9, Wozniak ¶¶ 17–18.

199 Ex. 4, Harrison Decl. ¶ 30.




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(i.e., the surgical procedure to remove a dead baby and pregnancy tissue from inside

the uterus). If she had waited a few more days before receiving care from Dr. Jester,

she could have been septic and died.200

               Dr. Nancy Wozniak, a member of Plaintiff AAPLOG, needed to treat a

woman who had contraindications to chemical abortion drugs (due to her taking

anti-coagulants) but still received chemical abortion drugs from Planned

Parenthood in Indiana. The woman consumed the first chemical abortion drug,

mifepristone, at Planned Parenthood and took an Uber for a ride home. During her

Uber ride, she began to experience bleeding and other adverse side effects from the

mifepristone. Instead of taking her home, the Uber driver took her to the emergency

department of Dr. Wozniak’s hospital. Dr. Wozniak treated the woman and advised

her not to take the second chemical abortion drug, misoprostol, because of the grave

risk that she could bleed out and die.201

               The FDA’s elimination of the in-person dispensing requirement for

chemical abortion drugs—allowing mail-order abortion—further harms the practice

of medicine. The increasing number of chemical abortions through mail-order or

telemedicine methods means that more women and girls will suffer complications

and require medical attention from doctors, including Plaintiff doctors and the




200   Ex. 52, Jester Decl. ¶ 17.
201   Ex. 9, Wozniak Decl. ¶¶ 24–25.


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members of Plaintiff medical associations, especially given that remote abortionists

often cannot or do not treat such complications.202

               To circumvent state laws that regulate abortions and protect the

health and safety of women and girls, abortionists are relying on access to chemical

abortion drugs through mail-order schemes or telemedicine, further increasing the

use of these drugs and the complications associated with them.203

               As more emergency situations arise, emergency room doctors, such as

Plaintiff doctors and the members of Plaintiff medical associations, are having to

treat more patients, including performing hysterectomies or removing fetal parts

remains. The more patients suffering emergency complications from chemical

abortion or seeking to reverse the chemical abortion process, the less time and

attention these doctors have to treat their other patients.204

               Because abortionists do not adequately describe what happens during

a chemical abortion and give these drugs to women and girls to take outside of the

abortion facility, doctors have needed to treat and care for many women who have

come to the emergency department for their intense bleeding and other effects of



202 Ex. 9, Wozniak Decl. ¶ 14; Ex. 5, Barrows Decl. ¶ 17; Ex. 52, Jester Decl. ¶¶ 22–
23; Ex. 50, Frost-Clark Decl. ¶ 12–15; Ex. 10, Foley Decl. ¶ 10.
203 Ex. 9, Wozniak Decl. ¶ 13; Ex. 10, Foley Decl. ¶ 10; see also Ruth Reader, State

abortion bans prove easy to evade, Politico (Nov. 11, 2022, 2:24 PM),
https://www.politico.com/news/2022/11/01/state-abortion-bans-medication-
00064407; Emily Bazelon, Risking Everything to Offer Abortions Across State Lines,
New York Times (Oct. 4, 2022), https://www.nytimes.com/2022/10/04/magazine/
abortion-interstate-travel-post-roe.html.
204 Ex. 9, Wozniak Decl. ¶¶ 17–18, 27; Ex. 7, Francis Decl. ¶ 14; Ex. 49, Johnson

Decl. ¶¶ 14, 16; Ex. 8, Skop Decl. ¶ 32; Ex. 51, Delgado Decl. ¶ 18.


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the chemical abortion drugs—although not considered complications from the

regimen.205

               Doctors, including Plaintiff doctors and the members of Plaintiff

medical associations, experience enormous pressure, stress, and chaos in these

emergency situations that the FDA created through its approval of chemical

abortion drugs and elimination of necessary safeguards.206

               Some of these emergency situations force pro-life doctors, including

Plaintiff doctors and the members of Plaintiff medical associations, into situations

in which they feel complicit in an elective chemical abortion by needing to remove a

baby with a beating heart or pregnancy tissue as the only means to save the life of

the woman or girl. This feeling of complicity in the act of an elective chemical

abortion causes great emotional suffering, mental anguish, and spiritual distress

among these doctors.207

               For example, Dr. Ingrid Skop, a member of Plaintiff AAPLOG, needed

to treat a young woman who had been bleeding for six weeks after she took

chemical abortion drugs at a Planned Parenthood facility. After two follow-up

appointments, Planned Parenthood had given her an additional dose of the second

chemical abortion drug, misoprostol, which failed to resolve her complications.

When Dr. Skop treated the young woman, Dr. Skop performed a sonogram,


205 Ex. 10, Foley Decl. ¶ 15; Ex. 49, Johnson Decl. ¶ 11.
206 Ex. 9, Wozniak Decl. ¶ 17; Ex. 5, Barrows Decl. ¶ 19; Ex. 52, Jester ¶ 20; Ex. 49,

Johnson ¶ 15; Ex. 3, Dickerson Decl. ¶ 14.
207 Ex. 8, Skop Decl. ¶ 34; Ex. 7, Francis Decl. ¶ 13; Ex. 5, Barrows Decl. ¶ 26; Ex. 3,

Dickerson Decl. ¶ 16.


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identified a significant amount of pregnancy tissue remaining in the woman’s

uterus, and had to perform a suction aspiration to resolve her complication.208

               The members of Plaintiff medical associations oppose being forced to

end the life of a human being in the womb for no medical reason, including by

having to complete an incomplete elective chemical abortion. The objections are

both ethical and medical as they stem from the purpose of medicine itself, which is

to heal and not to electively kill human beings regardless of their location.

Accordingly, Plaintiff medical associations and their members are harmed by the

FDA’s repeated removal of necessary safeguards, which may force them to treat

women and girls seeking the completion of an elective chemical abortion. This

concern is real and imminent, especially in light of the Biden HHS’s impermissible

actions to compel doctors to complete elective chemical abortions under the

Emergency Medical Treatment and Active Labor Act (EMTALA).209

               The FDA’s loosening of chemical abortion regulations impacts the

standard of care for chemical abortion drugs and the demands and expectations

that hospitals will put on their physicians.210




208 Ex. 8, Skop Decl. ¶ 23.
209 Ex. 4, Harrison Decl. ¶ 44; Ex. 5, Barrows Decl. ¶ 26; Ex. 3, Dickerson Decl. ¶ 16;
see also Reinforcement of EMTALA Obligations specific to Patients who are
Pregnant or are Experiencing Pregnancy Loss (QSO-21-22-Hospitals- UPDATED
JULY 2022), https://www.cms.gov/files/document/qso-22-22-hospitals.pdf.
210 Ex. 5, Barrows Decl. ¶ 25.




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               It grieves Plaintiff doctors and members of Plaintiff medical

associations to treat women and girls harmed by chemical abortion drugs, including

those who regret their decision to have a chemical abortion.211

               When their patients have chemical abortions, doctors lose the

opportunity to provide professional services and care for the woman and child

through pregnancy, which causes harms to providers who no longer can care for

their patients and bring about a successful delivery of a new life.212

               The FDA’s elimination of the requirement for abortionists to report all

adverse events related to chemical abortion drugs leads to unreliable reporting.

Without an accurate understanding of the adverse effects of widespread chemical

abortion drug use, Plaintiff doctors and members of Plaintiff medical associations

cannot effectively practice evidence-based medicine. Health care providers cannot

assess the risks of a particular course of treatment if the FDA is not collecting and

tracking the risks. And, therefore, they cannot accurately advise their patients and

the public about these risks.213

               Many doctors likely do not know about the importance of reporting

adverse events related to chemical abortion drugs to the FDA. Similarly, many

doctors likely do not know how to report adverse events.214



211 Ex. 52, Jester Decl. ¶ 27; Ex. 8, Skop Decl. ¶ 33; Ex. 51, Delgado ¶ 14.
212 Ex. 51, Delgado Decl. ¶ 17; Ex. 52, Jester Decl. ¶ 19.
213 Ex. 9, Wozniak Decl. ¶¶ 19–20; Ex. 5, Barrows Decl. ¶ 19; Ex. 8, Skop Decl. ¶ 30;

Ex. 4, Harrison Decl. ¶¶ 36–39; Ex. 52, Jester Decl. ¶¶ 24, 26; Ex. 49, Johnson Decl.
¶ 17; Ex. 10, Foley Decl. ¶ 17; Ex. 50, Frost-Clark Decl. ¶ 22.
214 Ex. 4, Harrison Decl. ¶ 33.




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               Even when Plaintiff doctors and members of Plaintiff medical

associations want to voluntarily report adverse events associated with chemical

abortion to the FDA, they must go through the complicated, cumbersome, and time-

consuming FAERS submission process. The adverse event reporting requirements

and the FAERS submission process harm medical practices by taking away

significant time from a doctor to treat and meet with patients.215

               In addition, even when doctors want to voluntarily report adverse

events to the manufacturer, Danco, the doctor must print, fill out by hand, and then

either mail or email back the form to Danco. Much of the information required by

this form is impossible to obtain by the physician seeing the patient if they were not

the one who dispensed the medication (such as lot number and dosage)—forcing the

doctor to leave several fields blank. There is no confirmation whether the reported

complications were recorded by Danco or reported to the FDA. Regardless, this

submission process harms medical practices by taking away significant time from a

doctor to treat and meet with patients.216

               Even when doctors want to report adverse events to their state

regulators, their reports can be rejected for improper reasons (e.g., asserting that

there was no adverse event because the doctor saved and treated the woman injured

by chemical abortion drugs).217



215 Ex. 7, Francis Decl. ¶¶ 16–18; Ex. 4, Harrison Decl. ¶ 33–34; Ex. 50, Frost-Clark
Decl. ¶ 23.
216 Ex. 7, Francis Decl. ¶¶ 16–18.

217 Ex. 9, Wozniak Decl. ¶ 26.




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               Because many women and girls suffering complications from chemical

abortion drugs tell emergency department doctors that they are experiencing

miscarriages, these doctors might not report these incidences as adverse events and

so these complications are significantly underreported or not fully known.218

               The inability or refusal of a patient to disclose why she is presenting

herself in the emergency department or what drugs she has received also impedes

the ability of doctors, including Plaintiff doctors and the members of Plaintiff

medical associations, to practice medicine and provide proper treatment to these

patients.219

               The lack of accurate information on adverse events also harms the

doctor-patient relationship with all medical care providers because the patients no

longer trust that their health care providers are telling them the truth. This harms

even doctors who do not support or practice chemical abortions, such as the

members of the AAPLOG.220

               The FDA’s removal of necessary safeguards for women and girls who

use chemical abortion drugs increases physicians’ exposure to potential liability.

Emergency department physicians often have no prior relationship with the

patient, lack access to the patient’s medical history, and encounter patients who do

not know what drugs they consumed or conceal the fact that they attempted a



218 Ex. 9, Wozniak Decl. ¶ 28; Ex. 10, Foley Decl. ¶ 14.
219 Ex. 9, Wozniak Decl. ¶ 28; Ex. 49, Johnson Decl. ¶¶ 13, 15; Ex. 10, Foley
Decl. ¶ 14; Ex. 50, Frost-Clark Decl. ¶¶ 16–17, 19.
220 Ex. 4, Harrison Decl. ¶ 37.




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chemical abortion. These factors place physicians in higher-risk situations with less

critical information about patients, thus increasing their exposure to allegations of

malpractice and potential liability.221

               As this exposure increases, so does the cost to practice medicine,

including insurance costs.222

               Doctors, such as Dr. Jester and Dr. Delgado, serve patients as

professional health care providers. They provide care to all women and unborn

children, and they give them the best professional services possible. Just like all

other health care providers, a hospital or practice will bill for the costs of medical

services rendered. When their patients have chemical abortions, they lose the

opportunity to provide professional medical care for the woman and child through

pregnancy and bring about a successful delivery of a new life.223

               Plaintiffs expect to continue to treat women and girls who suffer

complications from chemical abortion drugs.224

         C.    Injuries to Plaintiff Medical Associations

               Plaintiffs medical associations have also suffered organizational harms

from the FDA’s approval and deregulation of chemical abortion drugs.




221 Ex. 9, Wozniak Decl. ¶¶ 21–22; Ex. 5, Barrows Decl. ¶¶ 22–24; Ex. 52, Jester
Decl. ¶ 21; Ex. 49, Johnson Decl. ¶ 15; Ex. 10, Foley Decl. ¶ 14; Ex. 50, Frost-Clark
Decl. ¶¶ 16–18; Ex. 3, Dickerson Decl. ¶ 15.
222 Ex. 5, Barrows Decl. ¶ 24.

223 Ex. 52, Jester Decl. ¶ 19; Ex. 51, Delgado ¶ 17.

224 Ex. 4, Harrison Decl. ¶ 26; Ex. 7, Francis Decl. ¶ 11; Ex. 9, Wozniak Decl. ¶ 29;

Ex. 8, Skop Decl. ¶ 21; Ex. 52, Jester Decl. ¶¶ 12, 20; Ex. 49, Johnson Decl. ¶ 18.


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               For example, the inability to share accurate information with member

physicians, their patients, and the public on the risks of chemical abortion

frustrates and complicates Plaintiff medical associations’ purpose to support

women’s health and to educate doctors, their patients, and the public about these

dangers.225

               In addition, Plaintiff AAPLOG has needed to divert limited time,

energy, and resources to compensate for this lack of information by conducting their

own studies and analyses of the available data. This diversion of time, energy, and

resources comes to the detriment of other advocacy and educational efforts of

Plaintiff AAPLOG, including their efforts about the dangers of surgical abortion,

the conscience rights of doctors, and the sanctity of life at all stages.226

               Plaintiffs AAPLOG and Christian Medical & Dental Associations

submitted a citizen petition in 2002 challenging the FDA’s 2000 Approval of

chemical abortion drugs and requesting an audit of the clinical studies. Both

associations were concerned about women’s health issues and recognized that the

FDA’s violations of its standards and rules in approving chemical abortion drugs

put the lives and health of women and girls at risk. It took considerable time,

energy, and resources to draft their 92-page petition and the 30-page response to

comments letter, in addition to compiling and analyzing supporting sources and




225 Ex. 4, Harrison Decl. ¶¶ 38–39; Ex. 7, Francis Decl. ¶¶ 19–20; Ex. 5, Barrows
Decl. ¶¶ 20–21; Ex. 6, Van Meter Decl. ¶¶ 19–20; Ex. 3, Dickerson Decl. ¶¶ 21–22.
226 Ex. 4, Harrison Decl. ¶ 40; Ex. 7, Francis Decl. ¶ 21.




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studies. This effort caused both associations to divert limited time, energy, and

resources from its other priorities and routine functions.227

                Similarly, Plaintiffs AAPLOG and American College of Pediatricians

submitted another citizen petition in 2019 challenging the FDA’s 2016 Major

Changes to the chemical abortion drug regimen. It also took considerable time,

energy, and resources to draft the 26-page petition, in addition to compiling and

analyzing supporting sources and studies. This effort caused both associations to

divert limited time, energy, and resources from its other priorities and routine

functions.228

                The Catholic Medical Association, a member of the Alliance for

Hippocratic Medicine, has also taken actions to challenge the FDA’s approval and

deregulation of chemical abortion drugs—at the expense of other priorities.229

                Because abortion activists continue to file their own citizen petitions

and letters with the FDA asking the agency to eliminate all protections for women

and girls who take chemical abortion drugs, and knowing the Biden

administration’s relentless, politicized efforts to push these drugs throughout the

country, Plaintiff medical associations continue to expend considerable time,

energy, and resources on its public advocacy and educational activities about

chemical abortion drugs—to the detriment of their other priorities and functions.




227 Ex. 4, Harrison Decl. ¶ 41; Ex. 7, Francis Decl. ¶ 22; Ex. 5, Barrows Decl. ¶ 27.
228 Ex. 4, Harrison Decl. ¶ 42; Ex. 7, Francis Decl. ¶ 23; Ex. 6, Van Meter Decl. ¶ 21.
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    Ex. 3, Dickerson Decl. ¶¶ 17–20.


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This diversion of time, energy, and resources will not cease until the FDA’s approval

and deregulation of chemical abortion drugs cease.230

XIX. The Need for Judicial Relief

               Injunctive relief is necessary to prevent these harms, and judicial relief

is appropriate to vacate, set aside, enjoin, and declare these acts unlawful.

               All of the agency actions at issue—the 2000 Approval, the 2016

Petition Denial, the 2016 Major Changes, the 2019 ANDA Approval, the 2021 Non-

Enforcement Decision, and the 2021 Petition Response, as well as the agency’s

failure to act and prohibit or restrict chemical abortion drugs—are final agency

actions subject to judicial review under the APA.

               All the acts of Defendants described above, and their officers, agents,

employees, and servants, were executed and are continuing to be executed by

Defendants under the color and pretense of the policies, statutes, ordinances,

regulations, customs, and usages of the United States.

               Under 5 U.S.C. § 701(a), no statute precludes judicial review of the

agency’s actions, and the actions are not committed to agency discretion by law.

               Under the APA, a reviewing court must “hold unlawful and set aside

agency action, findings, and conclusions” if they are “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

§ 706(2)(C).




  Ex. 4, Harrison Decl. ¶ 43; Ex. 7, Francis Decl. ¶ 24; Ex. 5, Barrows Decl. ¶ 27;
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Ex. 6, Van Meter Decl. ¶ 22; Ex. 3, Dickerson Decl. ¶ 20.


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              Under the APA, a reviewing court must “hold unlawful and set aside

agency action, findings, and conclusions” if they are “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

              Likewise, a court must “compel agency action unlawfully withheld.”

5 U.S.C. § 706(1).

              Plaintiffs have no adequate remedy available at law.

              Plaintiffs have no adequate or available administrative remedy. In the

alternative, any administrative remedy would be futile or unnecessary.

              Defendants would suffer no harm from the relief requested, and the

relief requested would serve the public interest.

                               CLAIMS FOR RELIEF

                                     CLAIM ONE

                                  2000 APPROVAL

            ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
        IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
             LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
         ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
              OTHERWISE NOT IN ACCORDANCE WITH LAW

              Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

              Defendants lacked legal authority in 2000 to approve mifepristone

under the FDA’s Subpart H regulations.

I.      Subpart H

              The FDA’s Subpart H regulations apply only to “certain new drugs

that have been studied for their safety and effectiveness in treating serious or life-


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threatening illnesses and that provide meaningful therapeutic benefit to patients

over existing treatments (e.g., ability to treat patients unresponsive to, or intolerant

of, available therapy, or improved patient response over available therapy).” 21

C.F.R. § 314.500.

             Pregnancy is not an illness.

             Pregnancy is neither “serious” nor “life-threatening,” as those terms

are understood in Subpart H.

             Chemical abortion does not provide a “meaningful therapeutic benefit

to patients over existing treatments.”

             Defendants lacked the authority to approve mifepristone for chemical

abortion under Subpart H in 2000.

             Because the French and American trials did not compare the Mifeprex

regimen with the then-existing method for ending pregnancies (i.e., surgical

abortion), the trials did not demonstrate a “meaningful therapeutic benefit over

existing therapy.”

             Thus, the FDA’s 2000 Approval of mifepristone for chemical abortion

was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance

with Subpart H’s provision for the accelerated approval of certain new drugs.

II.   FFDCA

             Defendants lacked legal authority in 2000 to approve mifepristone

under the FFDCA.

             The FDA’s 2000 Approval violated the FFDCA because the clinical

trials on which the agency relied did not use the full set of design features the


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agency typically requires to produce unbiased investigations of drug safety and

effectiveness.

             Because these trials were not blinded, randomized, or concurrently

controlled, they did not establish the safety and effectiveness of the Mifeprex

regimen.

             The FDA also failed to perform a statistical analysis of the data from

the U.S. Clinical Trial.

             The FDA impermissibly extrapolated conclusions about the safety and

effectiveness of mifepristone from the U.S. Clinical Trial even though the agency did

not retain the requirements governing physician training, ultrasound, the post-

misoprostol waiting period, or physician privileges at facilities that provide

emergency care. The U.S. Clinical Trial failed to meet the requirements of the

FFDCA that the trial demonstrates safety and effectiveness under the conditions of

use prescribed, recommended, or suggested in the labeling or proposed labeling

thereof. Instead, the FDA had insufficient information on whether mifepristone was

safe under such conditions.

             Finally, the FDA violated the FFDCA and the agency’s implementing

regulations because the agency mandated the use of misoprostol for chemical

abortion as part of the 2000 Approval—despite the requirement that the sponsor

submit an sNDA for a new use of a previously approved drug.

             Therefore, Defendants lacked the authority to approve mifepristone for

chemical abortion under the FFDCA. Given these infirmities, the 2000 Approval




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was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance

with the FFDCA.

III.     PREA

               Defendants lacked legal authority in 2000 to approve mifepristone

under PREA.

               In the 2000 Approval, the FDA stated that it was “waiving the

pediatric study requirement for this action on this application.”231

               Because the 2000 Approval failed to meet any of the qualifications for a

waiver, see 21 U.S.C. § 355c(a)(5)(A), (B), the FDA lacked authority when waiving

the pediatric study requirement without explanation, and the 2000 Approval was in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right

when the FDA waived the pediatric study requirement without explanation. For the

same reason, the 2000 Approval was arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law when the FDA waived the pediatric study

requirement without explanation.

               In 2016, despite contrary evidence in the administrative record, the

FDA sought to provide an impermissible post-hoc rationalization that it

inaccurately stated in the 2000 Approval that it was “waiving” the pediatric study

requirements and, instead, should have said it had found that the requirements




231   Ex. 25, 2000 Approval Letter at 3.


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were met for post-menarchal pediatric patients by extrapolating from studies of

adult populations.232

                In addition to such a post-hoc rationalization being impermissible and

an inaccurate representation of the agency’s decision-making at the time, the FDA

lacked authority under PREA. The 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law. Because the agency was allowed to extrapolate from studies of

adult populations only if the course of a “disease” is substantially similar in adults

and the pediatric population. Because pregnancy is not a disease, PREA did not

permit the FDA to make such an extrapolation.

                In addition to such a rationalization being impermissible and an

inaccurate representation of the agency’s decision-making at the time, the FDA

lacked authority under PREA. The 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law because the FDA failed to satisfy the requirement for

documentation of the scientific data that supports its extrapolation that the course

of the “disease” and the effects of the drug are sufficiently similar in adult women

and pediatric girls.




232   Ex. 27, 2016 Petition Denial at 29.


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             In addition to such a rationalization being impermissible and an

inaccurate representation of the agency’s decision-making at the time, the FDA

lacked authority under PREA, the 2000 Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2000

Approval was arbitrary, capricious, an abuse of discretion, and not in accordance

with law because PREA allows the agency to extrapolate from adequate and well-

controlled studies in adults and, as discussed above, the U.S. Clinical Trial did not

include adequate and well-controlled studies in adults.

             In addition to such a rationalization being impermissible and an

inaccurate representation of the agency’s decision-making at the time, the 2000

Approval was arbitrary, capricious, and an abuse of discretion because the FDA’s

explanation that it expected girls—under the age of 18 years and going through

reproductive development—to have the same physiological outcome with the drug

regimen as adult women was unreasonable and not supported by the administrative

record.

             In addition to such a rationalization being impermissible and an

inaccurate representation of the agency’s decision-making at the time, the 2000

Approval was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law because the FDA did not require an assessment that evaluated

the safety and effectiveness of the drug for girls under 18 years of age.




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             Therefore, Defendants lacked the authority to approve mifepristone for

chemical abortion under PREA, and the 2000 Approval was arbitrary, capricious, an

abuse of discretion, and otherwise not in accordance with PREA.

IV.   Pretext

             The FDA’s illegal and unreasonable rationales for the 2000 Approval—

in light of the political context of the agency’s actions—indicate that the stated

reasons for the 2000 Approval are pretext. Therefore, the FDA’s 2000 Approval is

arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

law in violation of the APA. 5 U.S.C. § 706(2)(A).

V.    Reopener and Request

             “The reopening doctrine . . . create[s] ‘an exception to statutory limits

on the time for seeking review of an agency decision.’” Nat’l Ass’n of Reversionary

Prop. Owners v. Surface Transp. Bd., 158 F.3d 135, 141 (D.C. Cir. 1998). “Under the

reopening doctrine, the time for seeking review starts anew where the agency

reopens an issue.” Sierra Club v. EPA, 551 F.3d 1019, 1024 (D.C. Cir. 2008). The

U.S. Court of Appeals for the Fifth Circuit has adopted the “reopening doctrine.” See

Texas v. Biden, 20 F.4th 928, 951–55 (5th Cir. 2021), rev’d on other grounds, Biden

v. Texas, 142 S. Ct. 2528 (2022).

             The FDA’s 2016 Major Changes decision and the 2021 Petition

Response reopened the FDA’s underlying 2000 Approval of chemical abortion drugs

for chemical abortion. When issuing these decisions, the FDA undertook a serious,

substantive reconsideration of the safeguards required in the 2000 Approval

decision and affirmed in the 2016 Petition Denial. Ultimately, by removing these


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safeguards, the FDA completely changed the regulatory context and created a

different regulatory construct for chemical abortion drugs.

             For the reasons stated above, the FDA’s 2000 Approval of chemical

abortion drugs must be held unlawful, set aside, and preliminarily and permanently

enjoined.

                                     CLAIM TWO

                              2016 PETITION DENIAL

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

             The 2002 Citizen Petition provided the FDA with substantial legal

arguments that the 2000 Approval exceeded the agency’s authority and was not in

accordance with law under Subpart H, the FFDCA, and the Pediatric Rule.

             The 2002 Citizen Petition also provided the FDA with significant

scientific and factual reasons to withdraw the 2000 Approval.

             By disregarding the arguments, facts, and reasons set forth in the 2002

Citizen Petition, the FDA’s 2016 Petition Denial was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; and it was

arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with

law. The FDA’s 2016 Petition Denial was unreasonable and not supported by the

administrative record.


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             The FDA’s illegal and unreasonable rationales for the 2016 Petition

Denial—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2016 Petition Denial are pretext. Therefore, the FDA’s 2016

Petition Denial is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             “The reopening doctrine . . . create[s] ‘an exception to statutory limits

on the time for seeking review [of an agency decision].’” Surface Transp. Bd., 158

F.3d at 141. “Under the reopening doctrine, the time for seeking review starts anew

where the agency reopens an issue.” Sierra Club, 551 F.3d at 1024. The U.S. Court

of Appeals for the Fifth Circuit has adopted the “reopening doctrine.” See Texas v.

Biden, 20 F.4th at 951–55.

             The FDA’s 2016 Major Changes decision and the 2021 Petition

Response have reopened the FDA’s 2016 Petition Denial. When issuing these

decisions, the FDA undertook a serious, substantive reconsideration of the

safeguards enshrined in the 2000 Approval decision. Ultimately, by removing the

safeguards in the 2000 Approval, the FDA created a different regulatory construct

and completely changed the regulatory context for the chemical abortion drug

regimen.

             Therefore, the FDA’s 2016 Petition Denial must be held unlawful, set

aside, and preliminarily and permanently enjoined under the APA.




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                                  CLAIM THREE

                             2016 MAJOR CHANGES

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

             Defendants lacked legal authority to make the 2016 Major Changes.

I.    FFDCA

             The FDA’s 2016 Major Changes violated the FFDCA because they did

not include adequate tests by all methods reasonably applicable to show whether or

not such drug is safe for use under the conditions prescribed, recommended, or

suggested in the proposed labeling thereof.

             The 2016 Major Changes violated the FFDCA because the results of

the tests on which the FDA relied for its 2016 Major Changes showed that chemical

abortion is unsafe for use under such conditions, or they did not show that such

drug is safe for use under the conditions prescribed, recommended, or suggested in

the proposed labeling thereof.

             The 2016 Major Changes violated the FFDCA because the FDA had

insufficient information to determine whether mifepristone is safe for use under the

conditions prescribed, recommended, or suggested in the proposed labeling thereof.

             The FDA’s 2016 Major Changes lacked substantial evidence that the

new drug will have the effect it purports or is represented to have under the


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conditions of use prescribed, recommended, or suggested in the proposed labeling

thereof.

             In violation of the FFDCA, none of the studies on which the FDA relied

for its 2016 Major Changes evaluated the safety and effectiveness of the chemical

abortion regimen under the conditions of the label approved in 2016, or they failed

to satisfy the substantial evidence requirement for showing the safety and

effectiveness of the regimen under the conditions of the label approved in 2016.

             Therefore, Defendants lacked legal authority to make the 2016 Major

Changes. The FDA’s 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right under the FFDCA. The FDA’s

2016 Major Changes were unreasonable and not supported by the administrative

record.

II.   PREA

             The FDA lacked legal authority under PREA to make the 2016 Major

Changes, and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because PREA allows the

FDA to extrapolate from studies of adult populations only if the course of a “disease”

is substantially similar in adults and the pediatric population. Because pregnancy

is not a disease, PREA did not permit the FDA to make such an extrapolation.

             Defendants lacked legal authority under PREA to make the 2016

Major Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,


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an abuse of discretion, and not in accordance with law, because the FDA failed to

satisfy the requirement for documentation of the scientific data that supports its

extrapolation that the course of the “disease” and the effects of the drug are

sufficiently similar in adult women and pediatric girls.

             Defendants lacked legal authority under PREA to make the 2016

Major Changes and the 2016 Major Changes were in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right, and were arbitrary, capricious,

an abuse of discretion, and not in accordance with law, because the FDA did not

require an assessment that evaluated the safety and effectiveness of mifepristone

for girls under 18 years of age.

III.   Pretext

             The FDA’s illegal and unreasonable rationales for the 2016 Major

Changes—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2016 Major Changes are pretext. Therefore, the FDA’s 2016

Major Changes is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

IV.    Request

             For the reasons stated above, the FDA’s 2016 Major Changes must be

held unlawful, set aside, and preliminarily and permanently enjoined.




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                                   CLAIM FOUR

                2019 ABBREVIATED NEW DRUG APPROVAL

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

             Defendants lacked legal authority to issue the 2019 ANDA Approval.

             Because the FDA relied on the unlawful 2000 Approval of Mifeprex as

a means to approve GenBioPro’s generic drug, Mifepristone Tablets, 200 mg, if the

Court finds that the 2000 Approval was unlawful, as set forth above, then the 2019

ANDA Approval needed independently to satisfy the requirements of the FFDCA

and PREA.

             Unable to rely on an unlawful approval, the FDA’s approval of the

2019 ANDA Approval violated the FFDCA because it lacked the clinical

investigations, adequate testing, sufficient information, and substantial evidence to

show the safety and effectiveness of mifepristone under the conditions of use

prescribed, recommended, or suggested in the proposed labeling thereof as required

by 21 U.S.C. § 355(d).

             Unable to rely on an unlawful approval, the FDA’s approval of the

2019 ANDA also violated PREA because the submission lacked the necessary

assessment on the safety and effectiveness of mifepristone on the pediatric

population as required by 21 U.S.C. § 355c(a).


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             For these reasons, the 2019 ANDA Approval was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, and the 2019

ANDA Approval was arbitrary, capricious, an abuse of discretion, and not in

accordance with law.

             The FDA’s illegal and unreasonable rationales for the 2019 ANDA

Approval—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2019 ANDA Approval are pretext. Therefore, the FDA’s 2019

ANDA Approval is arbitrary, capricious, an abuse of discretion, and otherwise not

in accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             Therefore, the 2019 ANDA Approval must be held unlawful, set aside,

and preliminarily and permanently enjoined.

                                    CLAIM FIVE

 2000 APPROVAL, 2016 MAJOR CHANGES, 2019 ANDA APPROVAL, 2021
   NON-ENFORCEMENT DECISION, AND 2021 PETITION RESPONSE

   ULTRA VIRES; ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
     IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
          LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
      ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
           OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

             The FDA lacked legal authority when issuing its 2000 Approval, 2016

Major Changes, 2021 Non-Enforcement Decision, and 2021 Petition Response.

             None of these FDA actions comply with the federal laws that expressly

prohibit the mailing or delivery by any letter carrier, express company, or other



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common carrier of any substance or drug intended for producing abortion. 18 U.S.C.

§§ 1461–62.

              Since the 2000 Approval, the FDA has failed to restrict the upstream

distribution of chemical abortion drugs from manufacturer or importer to

abortionists in violation of these federal laws.

              The FDA’s 2021 Non-Enforcement Decision and 2021 Petition

Response also violated these federal laws because they impermissibly removed the

in-person dispensing requirement for chemical abortion drugs and, accordingly,

authorized the downstream distribution of chemical abortion drugs by mail, express

company, and other common carriers.

              Because a federal agency cannot permit what federal law expressly

prohibits, the FDA lacked legal authority when issuing its 2000 Approval, 2016

Major Changes, 2021 Non-Enforcement Decision, and 2021 Petition Response.

              Therefore, the FDA’s 2000 Approval, 2016 Major Changes, 2021 Non-

Enforcement Decision, and 2021 Petition Response must be held unlawful, set

aside, and preliminarily and permanently enjoined under the Court’s inherent

equitable power to enjoin ultra vires actions, Larson, 337 U.S. at 689–91.




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                                     CLAIM SIX

                             2021 PETITION RESPONSE

          ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706)
      IN EXCESS OF STATUTORY JURISDICTION, AUTHORITY, OR
           LIMITATIONS, OR SHORT OF STATUTORY RIGHT;
       ARBITRARY, CAPRICIOUS, AN ABUSE OF DISCRETION, OR
            OTHERWISE NOT IN ACCORDANCE WITH LAW

             Plaintiffs re-allege and incorporate, as though fully set forth,

paragraphs 1–330 of this complaint.

             The 2019 Citizen Petition provided the FDA with significant data and

reasons to justify restoring the pre-2016 REMS.

             The 2019 Citizen Petition also provided the FDA with significant data

and reasons to justify strengthening the REMS for chemical abortion drugs,

including the requirement that the abortionist uses an ultrasound to assess

gestational age and diagnose ectopic pregnancies.

             Finally, the 2019 Citizen Petition asked the FDA to require a formal

study of outcomes for at-risk populations, including girls under the age of 18 years,

as the agency has never studied these outcomes.

             By disregarding the data and reasons set forth in the 2019 Citizen

Petition, the FDA’s 2021 Petition Response was unreasonable and not supported by

the administrative record.

             The FDA’s 2021 Petition Response was in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right and arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law.




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             The FDA’s illegal and unreasonable rationales for the 2021 Petition

Denial—in light of the political context of the agency’s actions—indicate that the

stated reasons for the 2021 Petition Denial are pretext. Therefore, the FDA’s 2021

Petition Denial is arbitrary, capricious, an abuse of discretion, and otherwise not in

accordance with law in violation of the APA. 5 U.S.C. § 706(2)(A).

             Therefore, the FDA’s 2021 Petition Response must be held unlawful,

set aside, and preliminarily and permanently enjoined under the APA.

                             PRAYERS FOR RELIEF

      For these reasons, Plaintiffs respectfully request that the Court enter an

order as to Defendants, including their employees, agents, successors, and all

persons in active concert or participation with them.

             Issue a preliminary and permanent injunction ordering Defendants to

withdraw mifepristone and misoprostol as FDA-approved chemical abortion drugs

and to withdraw Defendants’ actions to deregulate these chemical abortion drugs.

             Hold unlawful, set aside, and vacate the 2000 Approval.

             Hold unlawful, set aside, and vacate the 2016 Petition Denial.

             Hold unlawful, set aside, and vacate the 2016 Major Changes.

             Hold unlawful, set aside, and vacate the 2019 ANDA Approval.

             Hold unlawful, set aside, and vacate the 2021 Non-Enforcement

Decision.

             Hold unlawful, set aside, and vacate the 2021 Petition Response.

             Declare that the chemical abortion drugs mifepristone and misoprostol

fall outside the scope of the FDA’s regulation entitled “Subpart H–Accelerated


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Approval of New Drugs for Serious or Life-Threatening Illnesses” (codified at 21

C.F.R. §§ 314.500, et seq.) because pregnancy is not an “illness” and these drugs do

not “provide meaningful therapeutic benefit to patients over existing treatments.”

             Declare that the Federal Food, Drug, and Cosmetic Act requires the

FDA to rely on clinical investigations and studies that show a drug is safe and

effective for use under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof when reviewing and approving a new drug application or

a supplemental new drug application.

             Declare that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying on studies that incorporate safeguards and protections not

included under the conditions prescribed, recommended, or suggested in the

proposed labeling when reviewing and approving a new drug application or a

supplemental new drug application.

             Declare that the Federal Food, Drug, and Cosmetic Act prohibits the

FDA from relying exclusively on studies that fail to evaluate all the requested

changes in the proposed labeling thereof when reviewing and approving a new drug

application or a supplemental new drug application.

             Declare that 18 U.S.C. § 1461 and 18 U.S.C. § 1462 prohibit the FDA

from approving a new drug application or a supplemental new drug application that

fails to limit distribution of chemical abortion drugs in accordance with these laws.

             Retain jurisdiction of this matter for the purpose of enforcing this

Court’s order.




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               Award Plaintiffs’ costs, attorneys’ fees, and other disbursements for

this action.

               Grant any other relief this Court deems equitable, just, and

appropriate.



Respectfully submitted this November 18, 2022.


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